Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 1 of 97 PageID #: 36014




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE


  PHARMACYCLICS LLC and
  JANSSEN BIOTECH, INC.,


                          Plaintiffs,
                                             Civil Action No. 19-0434-CFC-CJB
                   v.

  ALVOGEN PINE BROOK LLC and
  NATCO PHARMA LTD.,


                          Defendants.




  Jack B. Blumenfeld, Jeremy A. Tigan, MORRIS, NICHOLS, ARSHT &
  TUNNELL LLP, Wilmington, Delaware; Christopher N. Sipes, Erica N. Andersen,
  Brianne Bharkhda, Nicholas L. Evoy, Justin Thomas Howell, Laura Dolbow,
  Chanson Chang, David A. Garr, Eric R. Sonnenschein, COVINGTON &
  BURLING LLP, Washington, District of Columbia; Alexa Hansen, David S.
  Denuyl, Anna Q. Han, COVINGTON & BURLING LLP, San Francisco,
  California

                    Counsel for Plaintiff Pharmacyclics LLC

  Jack B. Blumenfeld, Jeremy A. Tigan, MORRIS, NICHOLS, ARSHT &
  TUNNELL LLP, Wilmington, Delaware; Irena Royzman, Christine Willgoos,
  Marcus A. Colucci, Jonathan R. Pepin, Cristina L. Martinez, KRAMER LEVIN
  NAFTALIS & FRANKEL LLP, New York, New York; Hannah Lee, Daniel
  Williams, KRAMER LEVIN NAFTALIS & FRANKEL LLP, Menlo Park,
  California

                    Counsel for PlaintiffJanssen Biotech, Inc.
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 2 of 97 PageID #: 36015




  Melanie K. Sharp, James L. Higgins, Steven W. Lee, YOUNG CONAWAY
  STARGATT & TAYLOR, LLP, Wilmington, Delaware; Siegmund Y. Gutman,
  David M. Hanna, Michelle M. Ovanesian, Amir A. Naini, PROSKAUER ROSE
  LLP, Los Angeles, California; Gourdin W. Sirles, Kimberly Q. Li, PROSKAUER
  ROSE LLP, Boston, Massachusetts

                    Counsel for Defendants Alvogen Pine Brook LLC and Natco
                    Pharma Ltd.




                          MEMORANDUM OPINION




  August 19, 2021
  Wilmington, Delaware
                                        11
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 3 of 97 PageID #: 36016




                                                   Table of Contents

    I.     Background .................................................................................................. 1
    II.    Legal Standards ............................................................................................ 4
           A.       Obviousness ....................................................................................... 4
           B.       Obviousness-Type Double Patenting ................................................ 9
           C.       Anticipation ..................................................................................... 11
           D.       Adequate Written Description and Enablement.. ............................ 11
    III.   The #309 Patent (The Compound Patent) ................................................. 13
           A.       Findings of Fact ............................................................................... 17
                    1.       Artisan of Ordinary Skill.. ..................................................... 17
                    2.        Claim 10 ................................................................................ 17
                    3.       The Provisional Applications ................................................ 18
                              a. Structure and Properties of Ibrutinib ............................... 18
                             b. Synthesis ofibrutinib ...................................................... 18
                    4.       Pan (DTX-541 and DTX-542) .............................................. 24
           B.       Conclusions of Law ......................................................................... 25
                    1.        Written Description ............................................................... 25
                    2.       Enablement ............................................................................ 26
                             a. The Compound 4 Scheme with the Teachings of WO
                             #829 ....................................................................................... 26
                             b. The Compound 4 Scheme without the Teachings of WO
                             #829 ....................................................................................... 29
                             c. The Compound 6 Scheme ............................................... 30
                    3.       Conclusion............................................................................. 31
    IV.    The #090 Patent (The Method of Treatment Patent) ................................. 31
           A.       Findings of Fact ............................................................................... 32
                    1.       Artisan of Ordinary Skill. ...................................................... 32
                    2.       Priority Date .......................................................................... 32
                    3.       Claim 2 .................................................................................. 32

                                                          111
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 4 of 97 PageID #: 36017




                 4.       R/RMCL and its Treatment .................................................. 33
                 5.       Determining Ibrutinib's Therapeutic Dose ........................... 35
                 6.       Difficulty in Predicting Cancer Therapy Efficacy ................ 36
                 7.       The Written Description ........................................................ 37
                 8.       Prior Art ................................................................................ 38
                          a. U.S. Patent Application Publication No. 2008/0076921
                          (the #921 publication) (DTX-484) and U.S. Patent No.
                          8,952,015 (the #015 patent) (DTX-6) ................................... 38
                          b. Pollyea (DTX-467) ......................................................... 40
                          c. December 2009 Press Release (DTX-137) ..................... 41
                 9.       Comparison of Claimed Limitations with the Prior Art ....... 41
                 10.      Obviousness .......................................................................... 42
                          a. Motivation ....................................................................... 42
                          b. Reasonable Expectation of Success ................................ 45
                          c. Secondary Considerations ............................................... 46
          B.     Conclusions of Law ......................................................................... 51
                 1.       Enablement ............................................................................ 51
                 2.       Written Description ............................................................... 51
                 3.       Obviousness .......................................................................... 52
                 4.       Obviousness-Type Double Patenting .................................... 54
    V.    The #455 Patent (The Crystalline Form Patent) ........................................ 57
          A.     Findings of Fact ............................................................................... 58
                 1.       Artisan of Ordinary Skill. ...................................................... 5 8
                 2.       Priority Date .......................................................................... 58
                 3.       Crystalline Forms .................................................................. 5 8
                 4.       X-Ray Powder Diffraction .................................................... 60
                 5.       Claim 5 and Crystalline Forms of Ibrutinib .......................... 60
                 6.   Prior Art for Anticipation-Pollyea (DTX-467) and Fowler
                 (DTX-148) ....................................................................................... 61
                 7.       Prior Art for Obviousness ..................................................... 61

                                                       IV
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 5 of 97 PageID #: 36018




                          a. Honigberg (DTX-278) .................................................... 61
                          b. U.S. Patent No. 7,514,444 (the #444 patent) (DTX-1) ... 62
                          c. Miller (DTX-1657) ......................................................... 63
                          d. Bauer (DTX-1008) .......................................................... 63
                 8.       Comparison of Claimed Limitations with the Prior Art ....... 64
                 9.       Obviousness .......................................................................... 64
                          a. Motivation ....................................................................... 64
                          b. Reasonable Expectation of Success ................................ 66
                          c. Secondary Considerations ............................................... 66
          B.     Conclusions of Law ......................................................................... 68
                 1.       Anticipation ........................................................................... 68
                 2.       Obviousness .......................................................................... 70
    VI.   The #857 Patent (The Tablet Formulations Patent) .................................. 71
          A.     Findings of Fact ............................................................................... 71
                 1.       Artisan of Ordinary Skill.. ..................................................... 71
                 2.       Priority Date .......................................................................... 72
                 3.       Tablets Generally .................................................................. 72
                 4.       Claims 30 and 37 ................................................................... 72
                 5.       Written Description ............................................................... 73
                 6.       Prior Art ................................................................................ 75
                          a. Imbruvica® Capsule Label (DTX-1413) ......................... 7 5
                          b. The #172 Publication (DTX-1399) ................................. 75
                          c. Goldstein (DTX-985) ...................................................... 77
                          d. HPE (DTX-1625) ............................................................ 78
                 7.       Comparison of Claimed Limitations with the Prior Art ....... 78
                 8.       Obviousness .......................................................................... 81
                          a. Motivation ....................................................................... 81
                          b. Reasonable Expectation of Success ................................ 82
                          c. Secondary Considerations ............................................... 85

                                                       V
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 6 of 97 PageID #: 36019




           B.       Conclusions of Law ......................................................................... 88
                    1.        Obviousness .......................................................................... 88
                    2.        Written Description ............................................................... 90
    VII.   Conclusion ................................................................................................. 90




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Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 7 of 97 PageID #: 36020




        Plaintiffs Pharmacyclics LLC and Janssen Biotech, Inc. ( collectively

  Pharmacyclics) have sued Defendants Alvogen Pine Brook LLC and Natco

  Pharma Ltd. (collectively Alvogen) pursuant to the Hatch Waxman Act, 21 U.S.C.

  § 355U), for infringement of four patents: U.S. Patent Nos. 8,008,309 (the #309

  patent), 8,754,090 (the #090 patent), 9,655,857 (the #857 patent), and 9,725,455

  (the #455 patent). Pharmacyclics listed the asserted patents in the so-called Orange

  Book administered by the U.S. Food & Drug Administration (FDA) to cover

  Pharmacyclics' brand-name drug Imbruvica®. This case arises out of Alvogen's

  submission to the FDA of an Abbreviated New Drug Application (ANDA) for

  approval to market generic versions oflmbruvica®tablets. Section 271(e)(2)(A) of

  the Patent Act, 35 U.S.C. § 1 et seq., defines the filing of an ANDA as an act of

  infringement. See Bayer Schering Pharma AG v. Lupin, Ltd., 676 F.3d 1316, 1325

 (Fed. Cir. 2012).

 I.     BACKGROUND

        Imbruvica® is used to treat patients with small cell lymphomas in adults.

 Imbruvica® is presently available in capsules in 70 mg and 140 mg strengths, and

 in tablets in 140 mg, 280 mg, 420 mg, and 560 mg strengths. Imbruvica® works

 because its active ingredient-ibrutinib-disrupts the protein known as Bruton's
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 8 of 97 PageID #: 36021




  tyrosine kinase (BTK), which is thought to play a role in unregulated cell

  reproduction. Because it interrupts BTK, ibrutinib belongs to a class of molecules

  referred to as BTK inhibitors.

        The asserted patents cover various aspects ofimbruvica®. The #309 patent's

  claims are generally directed to the ibrutinib molecule. The #090 patent's claims

  are generally directed to methods of treating a specific small cell lymphoma called

  relapsed or refractory mantle cell lymphoma. The #455 patent's claims are

  generally directed toward a crystalline form of ibrutinib. The #857 patent's claims

  are generally directed to formulations of tablets containing ibrutinib. Each of the

  asserted patents is listed in the FDA's publication Approved Drug Products with

  Therapeutic Equivalence Evaluations (the Orange Book) for Imbruvica®. Janssen

  is the exclusive licensee of each patent. JTX-148 at 35; Tr. 1899:9-17.

        Alvogen submitted ANDA No. 212763 seeking FDA approval to

  manufacture and sell ibrutinib tablets in 140 mg, 280 mg, 420 mg, and 560 mg

  strengths. Alvogen's ANDA contains a so-called Paragraph IV certification stating

  that certain patents listed in the Orange Book for Imbruvica® tablets are invalid,

  not infringed by its proposed ANDA product, or both. Pharmacyclics brought this

  infringement action based on the Paragraph IV certification. It has asserted claim

  10 of the #309 patent, claim 2 of the #090 patent, claim 5 of the #455 patent, and

  claims 30 and 37 of the #857 patent.


                                            2
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 9 of 97 PageID #: 36022




        Alvogen has stipulated that its ANDA product infringes the asserted claims

  of the #309 patent, #090 patent, and #455 patent under my claim constructions.

  D.I. 295. I ruled at trial that Alvogen infringes the asserted claims of the #857

  patent. Tr. 1976:8-1977:6, 1978:12-19, 1980:19-24. Alvogen offers numerous

  invalidity theories for the patents asserted against it. It argues that claim 10 of the

  #309 patent is anticipated. 1 It argues that claim 2 of the #090 patent lacks written

  description, is not enabling, is obvious, and is an obvious variant of an already

  patented invention (obviousness-type double patenting). It argues that claim 5 of

  the #455 patent is anticipated and obvious. And finally, it argues that claims 30

  and 37 of the #857 patent are obvious and lack written description.

        In October 2020, I held a seven-day bench trial. That trial also included

  defendants from a related action that settled posttrial. The parties submitted

  posttrial briefing and proposed findings of fact. As required by Federal Rule of

  Civil Procedure 52(a)(l), I have set forth separately below my findings of fact and

  conclusions of law.




  1
   Alvogen did not pursue posttrial its earlier arguments that claim 10 is invalid for
  obviousness, lack of enablement, and lack of written description. See Tr. 380:24-
  381 :5, 400:21-23, 480:5-22; Tr. of Hr' g Oct. 29, 2020 at 23 :7-14.

                                             3
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 10 of 97 PageID #: 36023




   II.   LEGAL STANDARDS

         A.     Obviousness

         Under§ 103 of the Patent Act, 2 a patent "may not be obtained ... if the

   differences between the subject matter sought to be patented and the prior art are

   such that the subject matter as a whole would have been obvious at the time the

   invention was made to a person having ordinary skill in the art to which said

   subject matter pertains." 35 U.S.C. § 103 (2006). As the Supreme Court explained

   in the seminal case Graham v. John Deere Co., 383 U.S. 1 (1966), under§ 103,

   "[a]n invention which has been made, and which is new in the sense that the same

   thing has not been made before, may still not be patentable if the difference

   between the new thing and what was known before is not considered sufficiently

   great to warrant a patent." Id. at 14. Section 103 ensures that "the results of

   ordinary innovation are not the subject of exclusive rights under the patent laws."

   KSR Int'! Co. v. Teleflex Inc., 550 U.S. 398, 427 (2007). "Were it otherwise




   2
     Congress amended the Patent Act in 2011 when it enacted the Leahy-Smith
   America Invents Act (AIA). See Pub. L. No. 112-29, 125 Stat. 284, 296 (2011).
   The parties agree that pre-AIA law applies to the #309, #090, and #457 patents and
   that AIA law applies to the #857 patent. Alvogen contends that claims 30 and 37
   of the #857 patent are invalid for obviousness under 35 U.S.C. § 103 and for
   lacking adequate written description under 35 U.S.C. § 112. Because the AIA
   versions of these sections of the Act do not differ from the pre-AIA versions in any
   respect relevant to the issues before me, for simplicity I will cite only to the pre-
   AIA Act.

                                             4
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 11 of 97 PageID #: 36024




   patents might stifle, rather than promote, the progress of useful arts." Id. (citing

   U.S. Const. art. I, § 8, cl. 8).

          The Court reaffirmed in KSR that the "framework" set out in the following

   paragraph from Graham governs the application of§ 103, id. at 406:

                 While the ultimate question of patent validity is one of
                 law, the[§] 103 condition [ofpatentability] ... lends itself
                 to several basic factual inquiries. Under [§] 103, the scope
                 and content of the prior art are to be determined;
                 differences between the prior art and the claims at issue
                 are to be ascertained; and the level of ordinary skill in the
                 pertinent art resolved. Against this background, the
                 obviousness or nonobviousness of the subject matter is
                 determined.        Such secondary considerations as
                 commercial success, long felt but unsolved needs, failure
                 of others, etc., might be utilized to give light to the
                 circumstances surrounding the origin of the subject matter
                 sought to be patented. As indicia of obviousness or
                 nonobviousness, these inquiries may have relevancy.

   Graham, 383 U.S. at 14-15 (citations omitted).

          It is clear that under this framework, a district court must consider in an

   obviousness inquiry the three primary factors identified by the Court in Graham:

   (1) the scope and content of the prior art, (2) the differences between the prior art

   and the claims at issue, and (3) the level of ordinary skill in the pertinent art. Less

   clear is the role, if any, secondary considerations should play in the analysis.

          The logical-some would say necessary-implication of the Court's use of

  the word "secondary" in Graham and its holding that the secondary considerations

  "might be utilized" and "may have relevancy" is that a district court is permitted-
                                              5
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 12 of 97 PageID #: 36025




   but not required in all cases-to examine such considerations in evaluating an

   obviousness-based invalidity challenge. The Court seemed to confirm as much in

   KSR, when it noted that "Graham set forth a broad inquiry and invited courts,

   where appropriate, to look at any secondary considerations that would prove

   instructive." KSR, 550 U.S. at 415 (emphasis added).

         But a district court ignores Graham's "invitation" to examine secondary

   considerations at its peril. One legal scholar, Harmon, has observed that under

   Federal Circuit law "[w]e are able now safely to strike the 'may' in the ...

   sentence" in Graham in which the Court stated that secondary "indicia of

   obviousness and nonobviousness ... may have relevancy." Robert Harmon,

   Cynthia Homan, Laura Lydigsen, Patents and the Federal Circuit 245 (13th ed.

   2017). Harmon correctly notes that "[t]he Federal Circuit has emphatically and

   repeatedly held that objective evidence of non-obviousness must be taken into

   account always and not just when the decisionmaker is in doubt." Id. In

   Stratojlex, Inc. v. Aeroquip Corp., 713 F.2d 1530 (Fed. Cir. 1983), for example, the

   Federal Circuit held that "evidence rising out of the so-called 'secondary

   considerations' must always when present be considered en route to a

   determination of obviousness." Id. at 1538. And in In re Cyclobenzaprine

   Hydrochloride Extended-Release Capsule Patent Litigation, 676 F.3d 1063 (Fed.

   Cir. 2012), the Federal Circuit reaffirmed that holding, id. at 1079, and went on to


                                             6
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 13 of 97 PageID #: 36026




   say that the Supreme Court in Graham "did not relegate ... to 'secondary status"'

   the "objective factors" the Supreme Court had explicitly identified in Graham as

   "secondary considerations," id. at 1078.

         It is true that less than a month after In re Cyclobenzaprine, a different

   Federal Circuit panel held in Otsuka Pharmaceutical Co. v. Sandoz, Inc., 678 F.3d

   1280 (Fed. Cir. 2012) that because it found that the defendants had "failed to prove

   that [the challenged patent claim] would have been prima facie obvious over the

   asserted prior art," it "need not address" the "objective evidence" of commercial

   success, long-felt need, and the failure of others. Id. at 1296. But the safer course

   for a district court faced with an obviousness challenge is to treat Graham's

   invitation to look at secondary considerations like a subpoena.

         Obviousness is assessed based on the perspective of an artisan of ordinary

   skill at the time of the invention. Unigene Labs., Inc. v. Apotex, Inc., 655 F.3d

   1352, 1360 (Fed. Cir. 2011). The court therefore needs to guard against "hindsight

   bias" that infers from the inventor's success in making the patented invention that

   the invention was obvious. In re Cyclobenzaprine, 676 F.3d at 1079. The ultimate

   question in the obviousness analysis is "whether there was an apparent reason [for

   an artisan of ordinary skill] to combine [at the time of the invention] the known

   elements in the fashion claimed by the patent at issue." KSR, 550 U.S. at 418.

   "The analysis is objective." Id. at 406. Thus, a court must determine whether an

                                              7
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 14 of 97 PageID #: 36027




   artisan of ordinary skill "would have had reason to combine the teaching of the

   prior art references to achieve the claimed invention, and ... would have had a

   reasonable expectation of success [in] doing so." In re Cyclobenzaprine, 676 F.3d

   at 1069.

         The party challenging the patent's validity bears the burden of proving

   obviousness by clear and convincing evidence. Id. at 1068-69. In weighing the

    Graham factors to decide whether the party has met that burden, the district court

   must be guided by common sense. Wyers v. Master Lock Co., 616 F.3d 1231,

    1238 (Fed. Cir. 2010). Indeed, "the legal determination of obviousness may

   include recourse to logic, judgment, and common sense, in lieu of expert

   testimony." Id. at 1239. In KSR, the Supreme Court warned lower courts to avoid

   "[r]igid preventative rules that deny factfinders common sense" and to employ

   instead "an expansive and flexible approach" under the Graham framework. KSR,

    550 U.S. at 415, 421. Thus, the district court may "reorder[] in any particular

   case" the "sequence" in which it considers the Graham factors. Id. at 407. And

   although a court should consider carefully the published prior art, "[t]he

   obviousness analysis cannot be confined by ... overemphasis on the importance

   of published articles and the explicit content of issued patents." Id. at 419.

         "[A]ny need or problem known in the field of endeavor at the time of the

   invention and addressed by the patent can provide a reason for combining the

                                             8
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 15 of 97 PageID #: 36028




   elements in the manner claimed." Id. at 420. And "[t]he combination of familiar

   elements according to known methods is likely to be obvious when it does no more

   than yield predictable results." Id. at 416. "[T]he fact that a combination was

   obvious to try might show that it was obvious under§ 103." Id. at 421. But a

   combination is obvious to try only "[w]hen there is a design need or market

   pressure to solve a problem and there are a finite number of identified, predictable

   solutions" in the prior art at the time of the invention. Id. And the court must also

   be mindful that "when the prior art teaches away from combining certain known

   elements, discovery of a successful means of combining them is more likely to be

   nonobvious." Id. at 416.

         B.     Obviousness-Type Double Patenting

         The doctrine of double patenting prohibits a person from obtaining claims in

   a patent that are not patentably distinct from claims in a patent issued earlier to the

   same person. Abb Vie Inc. v. Mathilda & Terence Kennedy Inst. ofRheumatology

   Trust, 764 F.3d 1366, 1373 (Fed. Cir. 2014) ("[The doctrine] is designed to prevent

   an inventor from securing a second, later expiring patent for the same invention.");

   Gilead Scis., Inc. v. Natco Pharma Ltd., 753 F.3d 1208, 1212 (Fed. Cir. 2014)

   (doctrine prohibits "obvious modifications of [an] invention that are not patentably

   distinct improvements"). Double patenting arguments come in two flavors: "same

   invention" and "obviousness-type." Both find their roots in the Patent Act,


                                              9
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 16 of 97 PageID #: 36029




   specifically,§ 101 's allowance of"a" patent for new and useful inventions.

   AbbVie, 764 F.3d at 1372.

         The Federal Circuit has prescribed a two-step obviousness-type double

   patenting analysis. The court first "construes the claim in the earlier patent

   [(sometimes referred to as the reference claim)] and the claim in the later patent

   and[] determines the differences." Eli Lilly & Co. v. Barr Labs., Inc., 251 F.3d

   955, 968 (Fed. Cir. 2001). The court next "determines whether the differences in

   subject matter between the two claims render the claims patentably distinct." Id.;

   see also AbbVie, 764 F.3d at 1374, 1378 ("[T]he law of obviousness-type double

   patenting looks to the law of obviousness generally."). While obviousness of the

   asserted claim as compared to the reference claim is assessed considering the prior

   art, In re Langi, 759 F.2d 887, 893 (Fed. Cir. 1985), the written description of the

   earlier patent "cannot be used as though it were prior art," Gen. Foods Corp. v.

   Studiengesellschaft Kahle mbH, 972 F.2d 1272, 1281 (Fed. Cir. 1992).

         Double patenting is a question of law. In re Basell Poliolefine Italia S.P.A.,

   547 F.3d 1371, 1375 (Fed. Cir. 2008). A challenger must prove invalidity based

   on obviousness-type double patenting by clear and convincing evidence. Otsuka

   Pharm. Co. v. Sandoz, Inc., 678 F.3d 1280, 1289-90 (Fed. Cir. 2012).




                                             10
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 17 of 97 PageID #: 36030




         C.     Anticipation

         An asserted patent claim is invalid under § 102 of the Patent Act as

   anticipated if the accused infringer presents clear and convincing evidence that a

   single prior art reference discloses, either expressly or inherently, each limitation

   of the claim. Brassica Protection Prods. LLC v. Sunrise Farms (In re Cruciferous

   Sprout Litig.), 301 F.3d 1343, 1349 (Fed. Cir. 2002). "[A]nticipation by inherent

   disclosure is appropriate only when the reference discloses prior art that must

   necessarily include the unstated limitation .... " Transclean Corp. v. Bridgewood

   Servs., Inc., 290 F.3d 1364, 1373 (Fed. Cir. 2002) (quotation marks and citation

   omitted) ( emphasis in the original).

         D.     Adequate Written Description and Enablement

         Section 112 of the Patent Act requires that the specification of a patent

   "contain a written description of [(1)] the invention, and of [(2)] the manner and

   process of making and using it, in such full, clear, concise, and exact terms as to

   enable any person skilled in the art to which it pertains ... to make and use the

   same." 35 U.S.C. § 112 (2006). Courts refer to these two requirements

   respectively as adequate written description and enablement.

         The "hallmark" of an adequate written description is "disclosure." Ariad

   Pharms., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en bane).

   A patent must "reasonably convey[] to those skilled in the art that the inventor had


                                             11
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 18 of 97 PageID #: 36031




   possession of the claimed subject matter as of the filing date" to satisfy the written

   description requirement. Id. An applicant establishes it was in possession of the

   invention "by describing the invention[] with all its claimed limitations."

   Lockwoodv. Am. Airlines, Inc., 107 F.3d 1565, 1572 (Fed. Cir. 1997) (emphasis

   omitted). This description can be made using "words, structures, figures,

   diagrams, formulas, etc." Id. A patentee can also "rely on information that is

   'well-known in the art' to satisfy written description." Streck, Inc. v. Research &

   Diagnostic Sys., Inc., 665 F.3d 1269, 1285 (Fed. Cir. 2012) (citation omitted). A

   challenger to the patent must prove invalidity based on inadequate written

   description by clear and convincing evidence. Invitrogen Corp. v. Clontech Labs.,

   Inc., 429 F.3d 1052, 1072 (Fed. Cir. 2005). Whether the written description

   requirement has been met is a question of fact. Id.

         To satisfy§ l 12's enablement requirement, the written description must

   provide a description that enables an artisan of ordinary skill to practice the full

   scope of the claimed invention without undue experimentation. Wyeth & Cordis

   Corp. v. Abbott Labs., 720 F.3d 1380, 1384 (Fed. Cir. 2013). "That some

   experimentation is necessary does not preclude enablement; the amount of

   experimentation, however, must not be unduly extensive." Atlas Powder Co. v.

   E.I. du Pont De Nemours & Co., 750 F.2d 1569, 1576 (Fed. Cir. 1984).

         A challenger must prove invalidity based on non-enablement by clear and


                                              12
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 19 of 97 PageID #: 36032




   convincing evidence. MagSil Corp. v. Hitachi Glob. Storage Techs., Inc., 687 F.3d

   1377, 1380 (Fed. Cir. 2012). Enablement is a question of law based on underlying

   facts. Wyeth & Cordis, 720 F.3d at 1384.

   III.   THE #309 PATENT (THE COMPOUND PATENT)

          Claim 10 of the #309 patent claims ibrutinib, the active ingredient of

   Imbruvica®. Alvogen argues that claim 10 is invalid because it was anticipated by

   the so-called Pan article, 3 which was published on December 12, 2006. The parties

   agree that the Pan article and its Supporting Information (hereinafter collectively

   referred to as Pan) describe ibrutinib. They dispute, however, whether Pan was

   published before the date of ibrutinib's invention.

          The date of a patented invention is "presumed to be the filing date of the

   application for the patent unless an earlier invention date is proved." Bausch &

   Lomb, Inc. v. Barnes-Hind/Hydrocurve, Inc., 796 F.2d 443, 449 (Fed. Cir. 1986).

   The application for the #309 patent was filed on December 28, 2006-16 days

   after Pan was published. Pharmacyclics argues, however, that under§ 120 of the

   Patent Act the date of ibrutinib' s invention is the filing date of either of two

   provisional patent applications the #3 09 patent inventors filed with the Patent &




   3
    Pan et al., Discovery ofSelective Irreversible Inhibitors for Bruton 's Tyrosine
   Kinase, 2 ChemMedChem 58-61 (2006) (DTX-541).

                                              13
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 20 of 97 PageID #: 36033




   Trademark Office (PTO) before Pan was published-Provisional Application Nos.

   60/826,720 (the #720 application), JTX-75, filed on September 22, 2006, and

   60/828,590 (the #590 application), JTX-76, filed on October 6, 2006.

         Section 120 provides that a patent application "for an invention disclosed in

   the manner provided by the first paragraph of section 112 of th[e] [Patent Act] in

   an application previously filed in the United States ... shall have the same effect,

   as to such invention, as though filed on the date of the prior application." 35

   U.S.C. § 120 (2006). The first paragraph of§ 112 requires, among other things,

   that the patent have adequate written description and enable an artisan of ordinary

   skill to practice the invention. Alvogen argues that the provisional applications fail

   to satisfy both those requirements, and that, therefore, Pharmacyclics is not entitled

   to benefit under §120 from the earlier filing dates of the #720 and #590

   applications. 4 Thus, the issue of whether Pan anticipates claim 10 turns on whether



   4
     Alvogen also argued for the first time in its posttrial briefing that the #309 patent
   is not entitled to benefit from the provisional applications' filing dates because
   Pharmacyclics failed to introduce evidence at trial that the provisional applications
   disclosed the best mode of practicing the invention. D.I. 325 at 9. Alvogen made
   no mention of best mode in the pretrial order or during trial and therefore waived
   any right to challenge the effective filing date of the #3 09 patent based on a failure
   to disclose best mode in the provisional applications. Alvogen argues in its reply
   brief, see D.I. 335 at 1 n.4, that the following statement in the pretrial order put
   Pharmacyclics on notice that it had to establish at trial that the provisional
   applications satisfied§ 112's best mode requirement: "For the claim to be afforded
   the benefit of the priority date of an earlier-filed application, the earlier filed
   application must have a disclosure that provides support with respect to that claim
                                               14
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 21 of 97 PageID #: 36034




   the provisional applications satisfy the written description and enablement

   requirements of§ 112.

         As the challenger of claim 10' s validity, Alvogen bears the ultimate burden

   of proving by clear and convincing evidence that Pan anticipates the claim. Tech.

   Licensing Corp. v. Videotek, Inc., 545 F.3d 1316, 1327 (Fed. Cir. 2008). But the

   Federal Circuit also held in Videotek that "once a challenger (the alleged infringer)

   has introduced sufficient evidence to put at issue whether there is ... prior

   [anticipating] art that is dated earlier than the apparent effective date of the asserted

   patent claim, the patentee has the burden of going forward with evidence and

   argument to the contrary." Id. at 1329. The court stated that it "underst[ood] ...

   the phrase 'going forward with evidence' to mean both producing additional

   evidence and presenting persuasive argument based on new evidence or evidence




   as required by 35 U.S.C. § 112." D.I. 283, Ex. SA, ,r 63. But the two sentences
   that immediately follow this sentence state: "Specifically, the parent application
   must have an adequate written description that conveys to [an artisan of ordinary
   skill] that the applicants were 'in possession' of the invention as ultimately
   claimed, at the time of filing the earlier-filed application. The parent [i.e., earlier
   filed] application must also enable [an artisan of ordinary skill] to make and use
   the invention without undue experimentation as of the filing date of the earlier
   application." D.I. 283, Ex. SA, ,r 63. (citations omitted). Thus, far from
   establishing that Pharmacyclics had the burden of producing best mode evidence at
   trial, the pretrial order instead made clear that Alvogen's specific arguments about
   the provisional applications made it necessary for Pharmacyclics to address at trial
   only whether those applications satisfied§ 112's enablement and written
   description requirements.

                                              15
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 22 of 97 PageID #: 36035




   already of record, as the case may require." Id. at 1327. And it held that the

  burden of going forward with evidence

                requires [the patentee] to show not only the existence of
                the earlier application, but why the written description in
                the earlier application supports the claim. In the context
                of the allegedly anticipating . . . prior art, that means
                producing sufficient evidence and argument to show that
                an ancestor to the [challenged] patent, with a filing date
                prior to the [prior art's publication] date, contains a written
                description that supports all the limitations of ... the claim
                being asserted.

  Id.

         The court did not define "sufficient evidence and argument" or set forth

   standards to determine whether a patentee has shown that an ancestor to the

  patent's application contains adequate written description "as the case may

   require." The Federal Circuit has variously described the patentee's burden as (1)

   "provid[ing] a clear, unbroken chain of priority," Droplets, Inc. v. E*TRADE Bank,

   887 F.3d 1309, 1317 (Fed. Cir. 2018), (2) ''prov[ing] entitlement [to an earlier

   effective filing date] to ... a federal court," Nat. Alts. Int'!, Inc. v. lancu, 904 F.3d

   1375, 1380 (Fed. Cir. 2018) (emphasis in the original), and (3) "establishing that

   its claimed invention is entitled to an earlier priority date," In re Magnum Oil Tools

  Int'!, Ltd., 829 F.3d 1364, 1376 (Fed. Cir. 2016). Wright & Miller, which Videotek

   cited in its discussion of the "burden of going forward with evidence" defines the

  standard for the burden of producing evidence as "sufficient evidence to support a


                                              16
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 23 of 97 PageID #: 36036




  jury finding in [the plaintiffs] behalf." 21B Charles Alan Wright & Kenneth W.

   Graham, Jr., Federal Practice & Procedure § 5122 (2d ed. 2021 ).

         A.             Findings of Fact

                 1.    Artisan of Ordinary Skill

         An artisan of ordinary skill would have had a Ph.D. in chemistry, organic

   chemistry, or a related field. Pharmacyclics's expert-Dr. Paul Reider-used a

   slightly different definition of an artisan of ordinary skill but testified that his

   opinions related to the #3 09 patent would not change if he had used the above

   definition. Tr. 1472:24-1473:8.

                2.      Claim 10

         Claim 10 of the #309 patent recites: "The compound of claim 1 having the

   formula 1-((R)-3-(4-amino-3-(4-phenoxyphenyl)-1H-pyrazolo[3,4-d]pyrimidin-1-

   yl)piperidin-1-yl)prop-2-en-1-one." #309 patent at claim 10. The formula recited

   in claim 10 describes ibrutinib. Tr. 373:10-20, 1472:1-6. Claim 10 does not

   cover pharmaceutically acceptable salts of ibrutinib. Tr. 2064:4-23, 2066:24-

   2067:5, 2067:17-2068:16.

         The #309 patent issued from U.S. Application No. 11,617,645 (the #645

   application). The #645 application was filed on December 28, 2006 and claims

   priority to U.S. Provisional Application Nos. 60/826,720 (the #720 application),

   JTX-75, filed on September 22, 2006, and 60/828,590 (the #590 application), JTX-

   76, filed on October 6, 2006.
                                               17
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 24 of 97 PageID #: 36037




                3.        The Provisional Applications

                          a.   Structure and Properties of lbrutinib

         Both the #720 application and #590 application disclose the structure of

   ibrutinib and refer to it as Compound 13. JTX-75 at 22 (Table 1, Compound 13 );

   JTX-76 at 75 (Table 1, Compound 13); Tr. 1475:23-1476:9. An artisan of

   ordinary skill would have understood at the time each application was filed that

   each application disclosed the structure of ibrutinib. An artisan of ordinary skill

   would also have understood from the provisional applications' disclosure of

   ibrutinib's structure that the inventors possessed ibrutinib as of the date each

   application was filed.

         The provisional applications also describe biological data obtained from

   experiments using ibrutinib that demonstrate ibrutinib's inhibition ofBTK. Tr.

   1475:23-1476:9; JTX-75       ,r,r 71-78; JTX76 ,r,r 282-292.   An artisan of ordinary

   skill would have understood that the inventors could not have obtained the

   biological data unless they possessed ibrutinib. Thus, an artisan of ordinary skill

   would have understood that the inventors possessed ibrutinib before the filing dates

   of the applications.

                          b.   Synthesis of Ibrutinib

         The provisional applications disclose a mixture of ibrutinib and ibrutinib's

   chiral counterpart. They refer to this mixture as Compound 4. "Chiral" molecules

   are asymmetric molecules that are mirror images of each other, i.e., they are related
                                               18
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 25 of 97 PageID #: 36038




   like right and left hands. It is undisputed that an artisan of ordinary skill would

   have been able to isolate ibrutinib from its chiral counterpart using known

   methods. Tr. 412:10-413:2 (Alvogen's witness-Dr. Salvatore Lepore-testifying

   that it would have been "well-known in the art" how to separate the two molecules

   in Compound 4); Tr. 1477:24-1478:17 (Dr. Reider testifying that it would have

   been "quite straightforward" to separate the two molecules of Compound 4); Tr.

   1574:14-1575:9 (Dr. Reider testifying that "you canjust separate" the two

   molecules). Thus, it is undisputed that if an artisan could make Compound 4, she

   could make ibrutinib.

         The parties dispute, however, whether the provisional applications enabled

   the synthesis of Compound 4. Stated more precisely, the parties dispute whether

   the provisional applications enabled the synthesis of a starting material (i.e., a

   reactant) that is referred to as "intermediate 2" or "known intermediate 2"

   (hereinafter referred to as "Intermediate 2") in the chemical reaction scheme

   disclosed in the provisional applications for Compound 4.

         The two provisional applications both disclose the following reaction

   scheme for the synthesis of Compound 4:




                                             19
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 26 of 97 PageID #: 36039




             Example 1: Synthesis oflrreversible Inhibitors




                                   2.                         3                      4

                             Scheme 1. Synthesis of irreversible Btk inhibitor 4 a) polym«-
                             bound TPP, DIAD, THF; h) HCJ/dioxane; then acryloyl chloride,
                             TEA


   JTX-75 at 25; JTX-76 at 77; Tr. 1477:24-1478:17. Scheme 1 and its

   accompanying text (hereinafter referred to collectively as the Compound 4

   Scheme) are identical in both provisional applications except that the #590

   application contains headings. The chemical structure above the "2" in the

   diagram of the reaction pictured above is Intermediate 2.

         The provisional applications have a bracketed citation to the World

   Intellectual Property Organization patent WO 2001019829 (WO #829)

   immediately after they mention Intermediate 2. JTX-75 180 ("To 101 mg of a

   known intermediate 2 [WO 2001019829] and 330 mg polymer-bound

   Triphenylphosphine (polymerlab) in 5 ml THF, 200 mg (2.0 eq.) of 3-OH N-Boc

   piperidine was added followed by 0.099 ml diisopropyl diazodicarboxylate.");

   JTX-761295 (same). An artisan of ordinary skill would have understood that the

   inventors cited WO #829 to explain how to synthesize Intermediate 2. Tr. 483 :22-

   484: l, 1572:1-10, 1570:6-15, 1577:15-22. It is undisputed that this citation


                                                     20
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 27 of 97 PageID #: 36040




   would have enabled an artisan of ordinary skill to obtain WO #829 and to follow

   WO #829's instructions to synthesize Intermediate 2. Tr. 484:5-10 (Alvogen's

   expert, Dr. Lepore, agreeing that an artisan could follow WO #829 to synthesize

   Intermediate 2); Tr. 387:6-10, 478:19-479:10, 1479:8-1480:18 (Pharmacyclics's

   expert, Dr. Reider, testifying that an artisan could follow WO #829 to synthesize

   Intermediate 2).

         Using known techniques, an artisan of ordinary skill could also have

   synthesized Intermediate 2 without the teachings of WO #829 based on the

   structure of Intermediate 2 disclosed in the diagram of the Compound 4 Scheme.

   Dr. Reider testified that his undergraduate students-whose abilities would fall

   below that of a person with a Ph.D. in organic chemistry or related field (i.e., an

   artisan of ordinary skill)--would have been able to synthesize Intermediate 2 ( or

   ibrutinib, for that matter) by working backwards from its structure to known

   starting compounds-a skill Dr. Reider referred to as retrosynthetic analysis. Tr.

   1479:2-7, 1576:9-1577:1. Dr. Reider explained that it's a chemist's "job" to

   "synthesize molecules and build molecules," and that an artisan of ordinary skill

   would be expected to have "experience with the tool box of organic reactions and

   would understand how to form key bond connections." Tr. 1477:2-21. According

   to Dr. Reider, an artisan of ordinary skill would know, for example, how to join




                                            21
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 28 of 97 PageID #: 36041




   different moieties in the molecule using well-known techniques such as a

   Mitsunobu reaction. Id.; see also Tr. 1481:1-20.

         I find this testimony of Dr. Reider-and indeed Dr. Reider generally-to be

   credible. See Tr. 2056:21-2057:4. Based on that testimony, I find that the

   disclosure of the structure of Intermediate 2 in the Compound 4 Scheme would

   have enabled a skilled artisan to synthesize Intermediate 2. And, since it is

   undisputed that once a skilled artisan could synthesize Intermediate 2, she could

   synthesize Compound 4 and then separate ibrutinib from Compound 4, it follows

   that a skilled artisan could have synthesized ibrutinib with standard techniques

   based on the provisional applications' disclosure of the Compound 4 Scheme. Tr.

   1477:24-1478:10.

         The #590 application also discloses the following reaction scheme for the

   synthesis of so-called Compound 6.

    SchemeL
                                                                               Ra

                                                                (HO)2B
                                                                          f).                                    OH
         N~          · N-iodosuccinam!de
         ~..N Jl}l
                ~     DMF,   heat                                    cat. Pd(dppf)ClrCH2Cl 2                   ' 6Yo'j(
                                                                     aq. K2C~dloxane                                  0   .
            1                                   2                    microwave,   1eo 0 c, 10 min                 4




                                                                                  1.} 4.0M HCl/dfoxane, 2 hr
                 Diisopropyl azodicarboxylate
                                                N--::
                 r&Sin bound PPh 3 , 24 hr      It_ ,-.;        ,N                2,) Acryloyl chloride.
                                                    N          N                      CH2C'2, TEA
                                                                                      R.T., 2hr
                                                           ()\\°+
                                                           5              0




                                                                     22
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 29 of 97 PageID #: 36042




   JTX-76 ,r 110. Compound 6 is the same mixture of compounds as Compound 4:

    Compound 4 (D .I. 76 at 77)             Compound 6 (D.I. 76 ,r 110)




                                                     N   ~
                                                     llN .&        ,N



                                                                  c~
                                                                  N



                                                              8             0
                        4

   See also D.I. 336 ,r 34. The synthesis described in Compound 6's Scheme I and its

   accompanying text (hereinafter referred to collectively as the Compound 6

   Scheme) begins with a molecule the #590 application refers to as "Compound l"

   and describes as being "commercially available." JTX-76        ,r 110.   The Compound

   6 Scheme then describes the specific type of reaction and reagents necessary for

   each step of the synthesis of Compound 6 from Compound 1. Id. The Compound

   6 Scheme also gives many of the reaction conditions (like temperature and solvent)

   for the various reaction steps. See id. And while it is true that the Compound 6

   Scheme is missing some of the reaction details, see Tr. 396:13-397:18, 397:22-

   399:3 (Dr. Lepore testifying that the Mitsunobu reaction that synthesizes

   Compound 5 from Compounds 3 and 4 does not give the solvent or resin, the


                                           23
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 30 of 97 PageID #: 36043




   relative amounts of Compounds 3 and 4, or the temperature conditions), it was

   within an ordinary artisan's skill to determine the missing reaction details because

   of the artisan's familiarity with the reaction types used in the Compound 6

   Scheme, Tr. 1477:2-21 (Dr. Reider describing an artisan of ordinary skill's

   "experience with the tool box of organic reactions"); Tr. 1481:1-21 (Dr. Reider

   testifying that Mitsunobu reactions are normally run with one of two or three

   common solvents). Thus, an artisan of ordinary skill would have been able to

   synthesize Compound 6 using the teachings of the Compound 6 Scheme found in

   #590 application. See Tr. 1480: 18-25. And, after using known techniques to

   separate the two molecules in Compound 6, an artisan of ordinary skill would be

   left with ibrutinib.

                 4.       Pan (DTX-541 and DTX-542)

          Pan discloses verbatim the Compound 4 Scheme set forth in the #720 and

   #590 applications. Tr. 481:8-482:1, 483:1-484:10; see DTX-541 at-1457; DTX-

   542 at 2. Both Alvogen and Pharmacyclics agree that Pan enables and describes

   claim 10 of the #309 patent. See D.I. 335 at 1 n.3; Tr. 1491:16-20. Pan does not

   contain any disclosures related to the synthesis of Intermediate 2 or ibrutinib not

   described in the Compound 4 Scheme. Tr. 481:8-482:1, 483:1-484:10; compare

   JTX-75 at 25 and JTX-76 at 77 with DTX-541 at 2 andDTX-542 at 2.




                                            24
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 31 of 97 PageID #: 36044




         B.     Conclusions of Law

                1.    Written Description

         Alvogen argues that the #720 and #590 applications lack adequate written

   description because they "fail to describe components essential for the synthesis of

   ibrutinib, and therefore [an artisan of ordinary skill] could not immediately discern

   that the applicants were in possession ofibrutinib." D.I. 325 at 9-10. But to

   satisfy the written description requirement of§ 112, a patent need not "describe

   components essential" to manufacture the invention. Words are not the only

   means to describe an invention. Structures, figures, and diagrams are also

   acceptable descriptive means to fully set forth the invention. Lockwood 107 F .3d

   at 1572. Here, the provisional applications' disclosure of ibrutinib's structure in

   Table 1 demonstrates that the inventors possessed the invention. Ariad, 598 F.3d

   at 1350 ("[A]n adequate written description requires a precise definition, such as

   by structure, formula, [or] chemical name .... "). Additionally, the inventors

   disclosed in the applications biological data that would not have been available to

   them had they not had ibrutinib to study. The disclosure of this biological data

   thus also demonstrates that the inventors possessed ibrutinib. Alvogen has

   therefore failed to show by clear and convincing evidence that the #720 and #590

   applications do not adequately describe claim 10 of the #309 patent.




                                            25
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 32 of 97 PageID #: 36045




                2.    Enablement

         Alvogen argues that Pharmacyclics "adduced no evidence (or argument)

   that[] a [skilled artisan] could synthesize ibrutinib based on the Applications

   without under experimentation." D.I. 335 at 1 (emphasis in the original). But I

   conclude as a matter of law that Pharmacyclics adduced sufficient evidence to

   satisfy its burden of going forward with evidence that the provisional applications

   would have enabled a skilled artisan to synthesize ibrutinib and further that

   Alvogen failed to establish by clear and convincing evidence that the applications

   would not have enabled a skilled artisan to synthesize ibrutinib without undue

   experimentation.

                      a.     The Compound 4 Scheme with the Teachings of WO
                             #829

         The Compound 4 Scheme in the applications' written description would

   have enabled a skilled artisan to synthesize Compound 4 from Intermediate 2 and

   then to separate ibrutinib from its chiral counterpart in the mixture. The

   applications' citation to WO #829 would have enabled an artisan to synthesize

   Intermediate 2.

         Alvogen argues in its briefing that the Compound 4 Scheme would not have

   enabled an artisan to synthesize ibrutinib from Intermediate 2. See, e.g., D.I. 325

   at 11. Alvogen never made this argument before or during trial and has therefore

   waived it. But in any event the argument is easily dismissed, as Alvogen admits

                                            26
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 33 of 97 PageID #: 36046




   that Pan is enabling and it is undisputed that Pan does not contain any disclosures

   related to the synthesis of Intermediate 2 or ibrutinib not described in the

   Compound 4 Scheme.

         Alvogen also argues that the provisional applications do not enable an

   artisan to synthesize Intermediate 2 because the Compound 4 Scheme "failed as a

   matter of law to incorporate [the teachings of WO #829] by reference." D.I. 325 at

   11. This argument fails for two reasons.

         First, the teachings of WO #829 were incorporated by reference in the

   Compound 4 Scheme set forth in the provisional applications. To incorporate

   material by reference, the host document

                must identify with detailed particularity what specific
                material it incorporates and clearly indicate where that
                material is found in the various documents. . .. In making
                that determination, the standard of one reasonably skilled
                in the art should be used to determine whether the host
                document describes the material to be incorporated by
                reference with sufficient particularity.

   Zenon Environmental Inc. v. United States Filter Corporation., 506 F.3d 1370,

   1378-79 (Fed. Cir. 2007) (quotation marks and citations omitted). Alvogen argues

   that the reference to WO #829 does not have the required particularity because the

   applicants "merely cited WO [#]829 in brackets without identifying (with any

   particularity) what subject matter the applicant sought to incorporate." D.I. 325 at




                                              27
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 34 of 97 PageID #: 36047




   13. 5 But, this argument is foreclosed by Alvogen's admission that Pan is enabling

   even though Pan also discloses WO #829 "merely" in brackets and Pan says

   nothing about WO #829 that is not said in the provisional applications.

   Furthermore, as I found above, an artisan of ordinary skill would have understood

   that the inventors cited WO #829 to explain how to synthesize Intermediate 2 and

   it is undisputed that this citation would have enabled an artisan of ordinary skill to

   obtain WO #829. Thus, I conclude as a matter of law that the provisional

   applications incorporated by reference the relevant teachings of WO #829.

         Second, Federal Circuit law is clear that no incorporation by reference is

   necessary in situations where the material was already known in the art. F alko-

   Gunter Falkner v. Inglis, 448 F.3d 1357, 1365 (Fed. Cir. 2006). 6 In Falkner, the

   Federal Circuit held that an application's claim was enabled despite the




   5
     Alvogen faults the applicants for "fai[ing] to even use the terms 'incorporate' or
   'reference."' D.I. 325 at 13. It cites, however, and I know of, no statute,
   regulation, or case law that requires the use of the magic words "incorporate by
   reference" in order to incorporate a reference into a provisional application.
   6
     Although Falkner deals with the necessity of incorporation by reference in a
   nonprovisional application, I find its holding to be applicable here since
   nonprovisional applications are held to a higher standard than provisional ones.
   See Manual of Patent Examining Procedure§ 608.0l(p)(I)(B) (noting that the
   policy concerns which limit incorporation by reference "do[] not apply where the
   sole purpose for which an applicant relies on an earlier U.S. or foreign application
   is to establish an earlier filing date").

                                             28
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 35 of 97 PageID #: 36048




   application's failure to disclose "essential" material or incorporate by reference

   any of the prior art documents disclosing it. Id. at 1365-67. The Falkner court

   reasoned that because the essential material was already in the prior art, an artisan

   of ordinary skill "would clearly have possessed such knowledge." Id. at 1365.

   Thus, "[t]he absence of incorporation by reference [was] not problematic" since "a

   patent need not teach, and preferably omits, what is well known in the art." Id.

   Here, there can be no dispute that the synthesis of Intermediate 2 was not novel

   since it was described in WO #829. Incorporation by reference (even though

   effectuated) was therefore not required.

                       b.    The Compound 4 Scheme without the Teachings of
                             WO #829

         Even though I have concluded that WO #829 was incorporated by reference

   in the provisional applications, I will address Alvogen's argument that the

   provisional applications are not enabling because a skilled artisan could not

   synthesize Intermediate 2 without the benefit of WO #829 and undue

   experimentation.

         I have already found, based on Dr. Reider's credible testimony, that a skilled

   artisan could have synthesized Intermediate 2 and thus ibrutinib without the benefit

   of WO #829 because the Compound 4 Scheme disclosed the structure of

   Intermediate 2. Alvogen cites Genentech, Inc. v. Novo Nordisk AIS, 108 F.3d 1361

   (Fed. Cir. 1997) for the proposition that Dr. Reider's testimony is "insufficient" for

                                              29
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 36 of 97 PageID #: 36049




   a finding of enablement. D.I. 335 at 1. But the court in Genentech held only that

   the knowledge of a skilled artisan cannot "supply the novel aspects of an invention

   in order to constitute adequate enablement." Genentech, 108 F.3d at 1366

   (emphasis added). Indeed, "[a] patent need not teach, and preferably omits, what is

   well known in the art." Spectra-Physics, Inc. v. Coherent, Inc., 827 F.2d 1524,

   1534 (Fed. Cir. 1987).

         Here, there is no real dispute that the Compound Scheme 4 enabled the

   novel aspects of the invention. Alvogen's naked assertion in its reply brief that

   "the [provisional a]pplications do not disclose 'the novel aspects' of the purported

   invention," D.I. 335 at 3 n.6., is unsupported by any evidence (let alone clear and

   convincing evidence) and is refuted by Alvogen's admission that Pan is enabling.

   And, again, there is no dispute that the synthesis of Intermediate 2 was not novel

   since it was described in WO #829. The Compound 4 Scheme discloses a specific

   starting material (Intermediate 2) and the conditions under which the synthesis of

   Compound 4 can be carried out (the novel aspect of the invention). It thus enables

   the synthesis of ibrutinib without undue experimentation.

                      c.     The Compound 6 Scheme

         Pharmacyclics argues that the Compound 6 Scheme describes an additional

   method of synthesizing ibrutinib. The Compound 6 Scheme appears only in the

   #590 application. I have already concluded as a matter of law that the Compound


                                            30
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 37 of 97 PageID #: 36050




   4 Scheme, which is found in both the #720 and #590 applications, is enabling.

   Because of that conclusion (and the fact that the parties gave what can charitably

   be called cursory attention to the Compound 6 Scheme in their briefing), I need not

   and do not address whether the Compound 6 Scheme is also enabling.

                3.     Conclusion

         Pharmacyclics has produced sufficient evidence and argument to show that

   the #720 application and #590 application contain written descriptions that support

   all the limitations of claim 10 of the #3 09 patent. Alvo gen, on the other hand, has

   failed to prove by clear and convincing evidence that claim 10 of the #3 09 patent is

   not entitled to the filing date of either the #720 application or #590 application. I

   therefore find that claim 10 of the #3 09 patent has a filing date of September 22,

   2006. Claim 10 is presumed to have been invented on that date and therefore

   cannot be anticipated by Pan, since Pan's publication date is December 12, 2006.

   Claim 10 of the #309 patent is thus not invalid under§ 102(a).

   IV.   THE #090 PATENT (THE METHOD OF TREATMENT PATENT)

         Claim 2 of the #090 patent claims a method of treating relapsed or refractory

   mantle cell lymphoma (MCL) with a once-daily oral dose of about 560 mg of

   ibrutinib. Alvogen contends that claim 2 is invalid because it is not adequately

   described or enabled, is obvious in light of four prior art references, and constitutes

   obviousness-type double patenting.


                                             31
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 38 of 97 PageID #: 36051




         A.     Findings of Fact

                1.     Artisan of Ordinary Skill

         An artisan of ordinary skill would have had a Ph.D. in chemistry, organic

   chemistry, or related field and/or an M.D.; several years of experience in treating

   cancer; and knowledge of and experience with various cancer therapies and

   oncology clinical trials. Pharmacyclics's expert-Dr. Simon Rule-used a slightly

   different definition of an artisan of ordinary skill but testified that his opinions

   related to the #090 patent would not change if he had used the definition stated

   above. D.I. 332 at, 11.

                2.     Priority Date

         The parties agree that the priority date for claim 2 is no earlier than June 3,

   2010. Tr. 1248:25-1249:7, 1396:12-15.

                3.     Claim 2

         Claim 1 of the #090 patent recites:

                A method for treating mantle cell lymphoma in an
                individual who has already received at least one prior
                therapy for mantle cell lymphoma compnsmg
                administering to the individual once per day between
                about 420 mg to about 840 mg of an oral dose of an
                inhibitor of Bruton's tyrosine kinase (Btk) having the
                structure [of ibrutinib].

   #090 patent at claim 1. Claim 2 depends from claim 1 and recites: "The method of

   claim 1, wherein the once per day oral dose is about 560 mg." #090 patent at claim

   2.
                                              32
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 39 of 97 PageID #: 36052




                 4.    R/R MCL and its Treatment

         MCL is a rare and aggressive form of non-Hodgkin's lymphoma and is

   ultimately incurable. Tr. 1360:16-1361:20, 1321:11-18; PTX-226 at 2. MCL that

   has already been treated is referred to as relapsed and refractory mantle cell

   lymphoma (R/R MCL ). Chemotherapy is typically used as the first treatment for

   MCL. R/R MCL is typically treated using a chemotherapy different from the

   chemotherapy first used to treat the patient's MCL. Tr. 1363:12-1364:2, 1367:9-

   22, 1363:17-24; PTX-226 at 2. As of June 2010, survival rates were low for MCL

   (4-5 years after diagnosis) and worse for R/R MCL (1-2 years). Tr. 1362:21-

   1363:3, 1366:1-1367:4 (citing JTX-620 at 8 (Fig. 5)); JTX-92 at 2 (outcomes

   "dismal in the relapsed setting" prior to June 2010).

         Ibrutinib treats R/R MCL by binding to a protein called BTK and thereby

   disrupting the biological pathway through which R/R MCL proliferates. Because

   ibrutinib targets BTK, it is referred to as aBTK inhibitor. Tr. 355:10-18. And

   because ibrutinib will not unbind from BTK after it is joined to it, it is also said to

   be an irreversible BTK inhibitor. Tr. 360:1-5. The chemical moiety that binds

   ibrutinib to BTK belongs to a class of moieties known as Michael acceptors (so

   named because they undergo a Michael reaction). Tr. 1467:17-19, 1538:18,

   1537:17-21.




                                              33
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 40 of 97 PageID #: 36053




         An artisan of ordinary skill would not have considered irreversible BTK

   inhibitors or molecules with a Michael acceptor to be promising drug classes in

   June 2010. Tr.1470:16-1471:7, 1371:2-6. Dr.Reiderofferedcredibletestimony

   at trial that the art in existence as of June 2010 taught away from using compounds

   with a reactive Michael acceptor group as drugs. Tr. 1471:2-12, 1532:14-1537:9,

   1504:24-1505:20. Compounds with Michael acceptors were known at the time to

   be genotoxic (that is, they react with DNA and cause mutations) and carcinogenic,

   and to cause liver toxicity by depleting the body's stores of glutathione. Tr.

   1532:14-1537:9 (referencing PTX-661 at 10 ("Michael acceptors are dangerous");

   JTX-406 at 1, 6 ("Michael-type reaction has activity relevant to producing a

   genotoxic effect."); JTX-402 at 2, 6, 37 (disclosing in Table 1 that acrylamide-the

   Michael acceptor found in ibrutinib-produced carcinogenic effects in the adrenal

   tissue, central nervous system tissue, mammary gland tissue, oral cavity tissue,

   peritoneal cavity tissue, and pituitary gland tissue of rats). There was also a

   concern at the time that treating patients with an irreversible BTK inhibitor could

   cause the type of life-threatening infections experienced by patients affected by

   Bruton's disease (also known as X-linked agammaglobulinemia)-a disease

   caused by the body's inability to create BTK. Tr. 1507:22-1508:14, 1552:12-17,

   1371:7-21, 1419:2-15; JTX-418 at 1.




                                             34
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 41 of 97 PageID #: 36054




                5.    Determining lbrutinib's Therapeutic Dose

         An artisan of ordinary skill would not have known or arrived at a dose of

  "about 560 mg" of ibrutinib for the treatment of R/R MCL as of the priority date.

   In 2009, the "3+3 method" was the prevailing procedure used to determine the

   therapeutic dose for a drug in a Phase I clinical trial. Tr. 1389:11-19; JTX-462 at

   2-3. Under this method, clinicians administer a drug at increasing doses over time

   to one or two cohorts of three patients until the administered dose amount results in

   two patients in the same cohort experiencing unacceptable side effects. The dose-

   level immediately below that amount is deemed the maximum tolerated dose or

   "MTD," which usually becomes the dose used in a Phase II trial. JTX-462 at 3; Tr.

   1389:20-1392: 17, 1329:6-1331 :4.

         Pharmacyclics did not determine the claimed 560 mg dose using the

   traditional 3+3 method for its dose-escalation study. Tr. 13 92: 18-21. Instead of

   relying on ibrutinib' s toxicity to determine dosage, Pharmacyclics looked at

   pharmacodynamics to determine the fraction ofBTK bound to ibrutinib at a given

   ibrutinib dose. Tr. 1614:2-1615:3, 1393:20-1395:2, 1400:14-20; JTX-77 at 30,

   36; JTX-461 at 2; see also Tr. 1606:2-20, 1608:16-1610:23. In other words,

   Pharmacyclics determined the point at which taking more ibrutinib could not cause

   a stronger therapeutic effect, instead of determining the point at which more

   ibrutinib would cause a patient harm (i.e., the MTD). A dose escalation study


                                            35
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 42 of 97 PageID #: 36055




   using pharmacodynamics as its criterion (or endpoint) was abnormal at the time

   and represented "one of the most challenging aspects" of clinical trial design. Tr.

   1400:21-1401:20; JTX-462 at 9; JTX-462 ("The [pharmacologically guided dose

   escalation] method has not been widely adopted due to practical obstacles[.]").

   Alvogen's expert, Dr. Michael Grossbard, testified that he has "conducted dozens

   and dozens of clinical trials throughout [his] career" and has never used such a

   study design. Tr. 1238:23-1239:7, 1333:6-12. A dose escalation study that uses

   pharmacodynamic endpoints, therefore, cannot be classified as routine

   experimentation.

         A dose of about 560 mg per day is not the MTD of ibrutinib. Tr. 1414:5-23,

   1331:20-22. To this day, the MTD ofibrutinib is unknown and evidence shows it

   is greater than 840 mg. Tr. 1392:22-1393:11, 1414:21-23, 1331:17-19, 1348:23-

   25; JTX-461 at 2 ("MTD was not reached in [the Phase I study]"). Had an artisan

   of ordinary skill conducted a routine dose escalation study for ibrutinib before the

   priority date, she would have escalated the dose amount to a dose far greater than

   560 mg.

                6.    Difficulty in Predicting Cancer Therapy Efficacy

         Cancer treatment can be unpredictable. Tr. 1307:9-17 ("You can have a

   drug that can work in some patients and not in others."); Tr. 1369:7-1370:15

   ("[D]o any of [the potential cancer treatment approaches] necessarily lead to


                                            36
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 43 of 97 PageID #: 36056




   results or effective therapy? You have no idea until you actually try it."). Because

   of the unpredictability associated with the treatment of cancer, less than 5% of

   oncology drugs that enter a Phase I trial ultimately receive FDA approval. Tr.

   1387:22-1388:1, 1307:21-1308:5; JTX-471 at 7 (3.4% of applications for

   oncology indications ultimately receive approval).

                7.     The Written Description

         The #090 patent's written description describes in the Summary of the

   Invention, as an embodiment of the claimed invention, a method of treating R/R

   MCL using ibrutinib orally administered at a dose of about 560 mg per day. #090

   patent at 4:52-5:1, 5:8-11; see also Tr. 1298:4-1300:2 (Alvogen's expert Dr.

   Grossbard agreeing that the Summary of the Invention "disclosed a 560-milligram

   dose of ibrutinib for the treatment of relapsed [and] refractory mantle cell

   lymphoma"). In fact, ibrutinib is the only BTK inhibitor that the written

   description specifically identifies as a treatment for R/R MCL. Tr. 1297:20-

   1298:3, 1433:18-1434:6; #090 patent at 4:59-5:1, 29:49-58.

         Because ibrutinib is the only BTK inhibitor identified by name in the

   Summary of the Invention and is the only BTK identified for the treatment of R/R

   MCL, an artisan of ordinary skill would have understood as of the priority date that

   ibrutinib was the inventor's preferred BTK inhibitor for treating R/R MCL. #090




                                            37
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 44 of 97 PageID #: 36057




   patent at 4:50-53, 4:59-5:40, 29:49-58; Tr. 1432:12-1434:16, 1297:12-1300:2,

   1300: 15-1301 :8.

         Example 13 in the written description discloses a protocol for a Phase II

   clinical trial to assess the use ofBTK inhibitors at a dose of 560 mg per day to treat

   R/R MCL. #090 patent at 141:58-142:27. The purpose of Example 13 is to

   "[e]valuate the efficacy ofBTK inhibitor in relapsed refractory subjects with

   MCL .... " Id. Although Example 13 does not explicitly identify a specific BTK

   inhibitor to use, an artisan of ordinary skill-having read the written description in

   its entirety-would understand to use the inventor's preferred BTK inhibitor (i.e.,

   ibrutinib) in the Phase II protocol described in Example 13. Tr. 1433:18-1434:6.

         An artisan of ordinary skill would have been able to follow the protocol of

   Example 13 using ibrutinib to practice the method recited in claim 2. Tr. 1434:11-

   1435 :2, 1455: 13-1456:8.

                8.     Prior Art

                       a.      U.S. Patent Application Publication No. 2008/0076921
                               (the #921 publication) (DTX-484) and U.S. Patent No.
                               8,952,015 (the #015 patent) (DTX-6)

         The #921 publication and #015 patent share essentially the same written

   description and differ only in their claims. Tr. 1295:18-25, 1412:16-22. The #921

   publication and #015 patent are titled "Inhibitors ofBruton's tyrosine kinase" and

   disclose ibrutinib alongside other BTK inhibitors and methods of treating various


                                            38
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 45 of 97 PageID #: 36058




   diseases using those BTK inhibitors. #921 publication at 1; #015 patent at 1; Tr.

   1277:18-22.

             The #921 publication and #015 patent disclose ibrutinib by its chemical

   name (referred to in the patent as "Compound 13") and its structure and a method

   of synthesis in Example 1b. #921 publication 1122, 450-451; #015 patent at

   4:19-21, 96:40-97:4; Tr. 1278:5-13. The #921 publication and #015 patent also

   disclose at least ten other BTK inhibitors by name, see #921 publication 1 22

   (naming compounds 4-6, 8-12, 14, and 15); #015 patent at 4:1-26 (same), and

   dozens more by structure, #921 publication 11252-253; #015 patent at 36:30-

   51 :37.

             While the #921 publication and #015 patent discuss using the disclosed BTK

   inhibitors to treat MCL, #921 publication 11170, 174; #015 patent at claims 17-

   20, 25:66-26:18, 26:60-27:2; Tr. 1278:14-25, they do not disclose the use of

   ibrutinib to treat R/R MCL, Tr. 1413:23-1414:4. They do, however, disclose that

   BTK inhibitors can be used to treat "a mind boggling number of [other]

   conditions ... includ[ing] everything from pneumonia to heart attacks to non-

   malignant conditions to a whole host of malignant conditions, including some

   things [Dr. Rule had] never heard of." Tr. 1413:7-15; see #921 publication 1133-

   51 (while I have not undertaken a meticulous counting of each condition listed, a




                                              39
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 46 of 97 PageID #: 36059




   rough estimation using a word counting program suggests that approximately 400

   conditions are disclosed in the cited portion); #015 patent at 5:47-9:49 (same).

         The publication's and patent's disclosures also state that a therapeutically

   effective amount of a drug can be determined through a dose escalation study with

   "routine experimentation." #921 publication~ 140; #015 patent at 21:25-52; Tr.

   1279:23-1280:6. The #921 publication and #015 patent provide a general dose

   range of 0.02-5000 mg per day or from about 1-1500 mg to day to treat the

   conditions listed in the written description. #921 publication ~ 41 0; #015 patent at

   84:23-38; Tr. 1413:17-1414:4, 1324:18-1325:2. Neitherthe#921 publication nor

   the #015 patent disclose any specific dose for any particular condition. Tr.

   1413:23-1414:4.

                      b.     Pollyea (DTX-467)

         Pollyea is titled "A Phase I Dose Escalation Study of the Btk Inhibitor PCI-

   32765 in Relapsed and Refractory B Cell Non-Hodgkin Lymphoma and Use of a

   Novel Fluorescent Probe Pharmacodynamic Assay." DTX-467; Tr. 1281:18-25.

   PCI-32765 refers to ibrutinib. Tr. 1605:1-10, 1658:19-1659:1, 1701:12-24.

         Pollyea published the interim results for seven patients in a Phase I dose

   escalation study of ibrutinib. Pollyea describes dosing based on subject weight-

   specifically, 1.25 mg of drug per kg of the patient's body weight (mg/kg/day); it

   does not disclose a fixed daily dose of about 560 mg per day. DTX-467 at -536;


                                            40
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 47 of 97 PageID #: 36060




   Tr. 1404:22-1405:1. Although a Phase I study focuses on a drug's safety as

   opposed to efficacy, Pollyea reported that none of the seven patients were observed

  to show partial or complete responses to treatment. DTX-467 at -537. In

   oncology, a partial response is defined as a "decrease in the disease by 50 percent

   or more but not ... a complete response." Tr. 1245:21-1246:3. A complete

   response or complete remission means the cancer essentially disappears. Id.

                      c.     December 2009 Press Release (DTX-137)

         This press release reports subsequent interim results of the same Phase I

   dose escalation study of PCI-32765 (i.e., ibrutinib) disclosed in Pollyea. Sixteen

   lymphoma patients were enrolled in the study. DTX-137 at 1. Among the patients

   with partial responses, two were R/R MCL patients and one was a R/R follicular

   lymphoma patient. DTX-137 at 1; Tr. 1410:3-10, 1406:24-1407:13.

                9.    Comparison of Claimed Limitations with the Prior Art

         Claim 2 of the #090 patent claims the treatment ofR/R MCL with a once-

   daily oral dose of about 560 mg ofibrutinib. Of Alvogen's four cited references,

   only Pollyea and the December 2009 Press Release disclose treating R/R MCL

   with ibrutinib. None of the references disclose treating R/R MCL with a once-

   daily dose of 560 mg. Pollyea and the December 2009 Press Release describe

   dosing based on subject weight-e.g., 1.25 mg of drug per kg of patient's body

   weight (mg/kg/day); neither reference mentions any fixed dose.


                                            41
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 48 of 97 PageID #: 36061




                10.    Obviousness

         Alvogen argues that claim 2 is invalid for obviousness because an artisan of

   ordinary skill would have been motivated to combine the teachings of the #015

   patent (and the #921 publication), Pollyea, and the December 2009 Press Release

   to achieve the invention recited in claim 2 and would have had a reasonable

   expectation of success in doing so. 7 The inventors of the #090 patent cited all four

   of these references to the PTO during the patent's prosecution. #090 patent at

   pages 3-9.

                       a.    Motivation

         Alvogen argues that an artisan of ordinary skill would have been motivated

   to use ibrutinib to treat R/R MCL because the Phase I dose escalation study

   disclosed in Pollyea and the December 2009 Press Release shows "that ibrutinib is

   efficacious in treating R/R MCL." D.I. 325 at 27. But given the unpredictable

   nature of oncology and the fact that only two of the study's patients had R/R MCL,

   an artisan of ordinary skill would not interpret these results as showing that

   ibrutinib could be used as a treatment for R/R MCL. Tr. 1407:2-10, 1410:3-15.



   7 Alvogen lists Advani (DTX-136) as relevant prior art. See DI 325 at 23. Advani,
   however, is not among the combination of references that Alvogen argues renders
   claim 2 obvious. See DI 325 at 26 (heading titled "Obviousness in View of '015
   Patent (or '921 Publication), Pollyea 2009 and the December 2009 Press Release").
   I have considered Advani' s teachings as background prior art in making my
   findings of fact and conclusions of law.

                                            42
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 49 of 97 PageID #: 36062




   The mere fact that ibrutinib was being studied in a Phase I trial does not speak to

   ibrutinib's efficacy. Indeed, less than five percent of oncology drugs that enter a

   Phase I trial ultimately receive FDA approval. Tr. 1415:12-19. Thus, reading

   these references would not have motivated an artisan of ordinary skill to use

   ibrutinib to treat R/R MCL.

         Additionally, none of Alvogen's references alone or in combination would

   have motivated an artisan of ordinary skill to use a once-daily dose of about 560

   mg. As noted above, none of the references suggested the use of a once-daily dose

   to treat R/R MCL. The only references that mention R/R MCL 8-Pollyea and the

   December Press Release--disclose a weight-based dosing regimen. Nor does the

   evidence suggest that a conventional 3+3 dose escalation study would lead to a




   8
     Alvogen's briefing implicitly asserts that a disclosure of treating MCL with
   ibrutinib is relevant to whether an artisan of ordinary skill would be motivated to
   treat R/R MCL with ibrutinib. See D.I. 325 at 27. Inherent in this implicit
   assertion is that therapies for MCL and R/R MCL are similar enough that an
   artisan of ordinary skill would interpret a disclosure of treating MCL with a drug
   as evidence that the drug would be effective at treating R/R MCL. But the
   evidence adduced at trial shows that although MCL and R/R MCL might be
   different stages of the same disease, they behave and were treated differently. For
   example, R/R MCL is considered more aggressive and has a worse rate of survival.
   R/R MCL is more difficult to treat, and a therapy used to treat MCL is typically not
   used to treat R/R MCL in the same patient. For these reasons, I find that Alvogen
   has not shown by clear and convincing evidence that an artisan of ordinary skill
   would interpret a disclosure of treating MCL with a drug as evidence that the drug
   would be effective at treating R/R MCL.

                                            43
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 50 of 97 PageID #: 36063




   dose of about 560 mg. A typical 3+3 dose escalation study using toxicity as an

   endpoint would have reached the MTD as the dosage. Dr. Grossbard admitted that

   the MTD for ibrutinib is above 560 mg. To reach the claimed dose of about 560

   mg, an artisan would need to conduct a study using pharmacodynamic endpoints,

   something that none of the references would have motivated an artisan of ordinary

   skill to do. In fact, Dr. Grossbard-who testified that he has "conducted dozens

   and dozens of clinical trials throughout [his] career"-has never conducted a dose

   escalation study using pharmacodynamic endpoints. Tr. 1238:23-1239:7, 1333:6-

   12.

         Finally, safety concerns about ibrutinib would have discouraged an artisan of

   ordinary skill from treating R/R MCL with ibrutinib. Specifically, an artisan of

   ordinary skill would have been concerned that treating a patient with a BTK

   inhibitor could cause life-threatening infections similar to those experienced by

   patients suffering from Bruton's disease who are born without BTK. And an

   artisan of ordinary skill would have also had safety concerns about using an

   irreversible inhibitor with a reactive Michael acceptor because those acceptors

   were known to be genotoxic and carcinogenic and to cause liver toxicity.

         Accordingly, I find that Alvogen has failed to demonstrate by clear and

   convincing evidence that an artisan of ordinary skill would be motivated to treat

   R/R MCL with a once-daily dose of about 560 mg of ibrutinib.

                                            44
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 51 of 97 PageID #: 36064




                      b.     Reasonable Expectation of Success

         Alvogen argues that "the prior art clinical trial results" (i.e., Pollyea and

   December 2009 Press Release) would have provided an artisan of ordinary skill

   with a reasonable expectation of success in treating R/R MCL with a 560 mg daily

   dose of ibrutinib. But again, the preliminary results from the ongoing Phase I trial

   reported in Pollyea and the December 2009 Press Release did not teach the

   efficacy of ibrutinib for treating R/R MCL, and an artisan of ordinary skill could

   not have reasonably expected success in light of the unpredictable nature of

   oncology and the study's extremely small sample size. To the contrary, as I found

   above, R/R MCL is an aggressive lymphoma that is even more difficult to treat

   than MCL. An artisan of ordinary skill would thus not have had a reasonable

   expectation of success in treating R/R MCL with ibrutinib in the absence of more

   conclusive evidence of its efficacy.

         Alvogen also argues that the #015 patent and #921 publication teach that a

   dose escalation study could be used to arrive at the claimed daily oral dose of about

   560 mg through "routine experimentation." D.I. 325 at 27. But the #015 patent

   and #921 publication's boilerplate references to "routine experimentation" do not

   suggest a dose escalation study using pharmacodynamic endpoints since such an

   experiment is not "routine." Thus, Alvogen's cited prior art does not suggest using

   a once-daily dose of about 560 mg.


                                             45
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 52 of 97 PageID #: 36065




          Accordingly, I find that Alvogen has failed to show by clear and convincing

   evidence than an artisan of ordinary skill would have had a reasonable expectation

   of success in treating R/R MCL with a once-daily oral dose of about 560 mg of

   ibrutinib.

                      c.     Secondary Considerations

                             1)    Long-felt but Unmet Need

          Before Imbruvica®, the available treatment options for R/R MCL-i.e.,

   chemotherapy-had "dismal" outcomes and were "often associated with severe

   side effects." JTX-92 at 2; see PTX-226 at 2 ("More effective agents are

   needed."); Tr. 1358:3-9, 1360:4-10 (Dr. Rule testifying to a "long history" of

   failed agents); Tr. 1364:21-1367:22. Because of the shortcomings associated with

   the prior treatment options, there was a long-felt but unmet need for safer and more

   effective methods of treating R/R MCL. Using Imbruvica® to treat R/R MCL met

   those needs. Imbruvica®'s label and prescribing information indicate that it treats

   R/RMCL with a once-daily oral dose of560 mg ofibrutinib. DTX-1413 at 2.

   Imbruvica® was more effective than the prior art at treating R/R MCL, a fact

   indicated by its higher overall response rate (ORR). 9 JTX-92 at 6 (showing the

   ORR for Imbruvica® (68%) and other approved treatments for R/R MCL, including



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    An overall response rate is the combination of the rates of partial responses and
  the rates of complete responses. Tr. 1245:21-1246:3.

                                            46
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 53 of 97 PageID #: 36066




   bortezomib (33%), lenalidomide (28%), and temsirolimus (22%)); see also PTX-

   226; Tr. 1376:3-1377:1, 1377:6-1378:5. Imbruvica® is safer than standard

   chemotherapy treatments because the claimed method is well-tolerated and has a

   low incidence of side effects. Compare Tr. 1381:14-1382:15 (side effects for

   treatment ofR/R MCL with ibrutinib were most commonly mild bruising and

   temporary diarrhea) with Tr. 1420:7-10 ("Give people chemotherapy. You don't

   live a quality[] life. These patients are washed out for a long, long time.

   Remember that chemotherapy kills people as well. There's a mortality at two

   percent."). Imbruvica® thus met a long-felt need for a safer and more effective

   method of treating R/R MCL.

         This long-felt need for a safer and more effective method of treating R/R

   MCL was particularly pressing for elderly patients. R/R MCL presents primarily

   in the elderly, who are generally less able to tolerate the side effects of

   chemotherapy. Tr. 1420:14-16 ("[T]he average age of presentation is 70, so by the

   time you relapse, you're mid seventies. . . . This drug just changes your approach

   to that condition."); Tr. 1364:15-20 ("[P]robably 10 to 15 percent of [R/RMCL]

   patients are too old or too frail to consider any of those [chemo]therapies"); Tr.

   1367:9-22, 1374:20-1375:1 ("There is no chemotherapy you can give [a 92-year-

   old] that's going to be effective without causing very, very significant side effects

   and probably kill him."). Treating R/R MCL with Imbruvica® meets this need as

                                             47
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 54 of 97 PageID #: 36067




   well. See Tr. 1381: 14-1382: 15 (the claimed treatment method is "incredibly well

   tolerated, and that's what's particularly useful in the context of elderly patient who

   often have significant effects of comorbidity. There are no contraindications.

   That's very important."); see also PTX-1343 at 1 (Imbruvica® label listing no

   contraindications); Tr. 1420:5-19. I find this evidence to be particularly

   compelling.

         In short, there existed as of the priority date a long-felt but unmet need for a

   more effective and safer method of treating R/R MCL that was met by Imbruvica®.

                             2)     Failure of Others

         When developing cancer treatments, researchers often try to identify the

   molecules necessary for a cancer to persist or proliferate and then develop drugs to

   target those molecules. Tr. 1367:23-1368:9; Tr. 1420:24-1422:9. And at the time

   of the priority date, many pharmaceutical companies had tried and failed to

   develop a safer and more effective R/R MCL therapy by targeting molecules

   thought to play a role in the progression ofR/R MCL. Id.; Tr. 1383:21-1384:5.

   Companies, for example, had tried and failed to develop drug candidates that

   would target and inhibit the proteins Bcl-2 and Pi3K. Tr. 1368:10-15, 1369:3-6

   (Bcl-2 and Pi3K inhibitors thought to affect cell death). A company had tried but

   failed to develop drugs that would target and inhibit vascular endothelial growth

   factor (VEGF). Tr. 1368:16-20 (anti-VEGF agents believed to shrink tumors by


                                             48
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 55 of 97 PageID #: 36068




   reducing blood supply). Another company attempted and failed to develop

   bespoke surface antibodies that would target pathways related to R/R MCL. Tr.

   13 68 :21-13 69 :2. These failed attempts support a finding that others had failed to

   develop a more safe and effective method of treating R/R MCL.

                              3)     Skepticism

          As I explained above, concerns that inhibiting BTK in patients could cause

   life-threatening infections similar to those experienced by patients affected by

   Bruton' s disease would have discouraged a skilled artisan from using a BTK

   inhibitor like ibrutinib as a drug as of the priority date. A skilled artisan also

   would have had safety concerns about using an irreversible inhibitor with a

   reactive Michael acceptor group because Michael acceptors were known to be

   genotoxic and carcinogenic and to cause liver toxicity. These concerns would have

   made a skilled artisan skeptical that ibrutinib could be safely administered to

   patients.

         Real-world evidence of these concerns is demonstrated by the fact that

   numerous pharmaceutical companies rejected Pharmacyclics's initial efforts to

   jointly develop ibrutinib, because they had concerns about ibrutinib's safety. Tr.

   1549:12-1552:1 (discussing communications from large pharmaceutical

   companies-including Amgen, Boehringer Ingelheim, and GlaxoSmithKline-

   expressing concern about irreversible BTK inhibition (referencing JTX-186; JTX-


                                              49
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 56 of 97 PageID #: 36069




   192; JTX-191; JTX-188)). Skepticism about the use of ibrutinib to safely treat

   patients with R/R MCL thus supports a finding of nonobviousness.

                             4)    Unexpected Results

         Given the difficulty of treating R/R MCL, the long-felt need for safer and

   more effective methods of treating R/R MCL, the failure of others to develop such

   methods, and skepticism of safely treating patients with ibrutinib, an artisan of

   ordinary skill would not have expected that using Imbruvica® to treat R/R MCL

   would be more effective and safer than prior treatments.

                             5)    Praise

         The National Organization for Rare Disorders recognized Imbruvica® as a

   "innovative new therap[y]" for treating R/R MCL when it awarded Pharmacyclics

   a "Partners in Progress Award" specifically for Imbruvica®'s FDA approval in

   treating R/RMCL. JTX-107 at 3; Tr. 1423:6-17.

                             6)    Commercial Success

         Evidence adduced at trial demonstrates that Imbruvica® tablets and capsules

   are a commercial success. Tr. 1919 5-9, 1877:9-14, 1881 :10-18. After FDA

   approval, Imbruvica® quickly achieved, and has since maintained, a large share of

   the market ofR/R MCL patients. JTX-308; JTX-309; Tr. 1879:2-1880:20 (total

   patient share for R/RMCL is around 50%). Moreover, Alvogen does not contest

   in its opening brief that Imbruvica® tablets and capsules were commercially

   successful. See D.I. 325 at 32-33.
                                            50
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 57 of 97 PageID #: 36070




         B.     Conclusions of Law

                1.     Enablement

         Alvogen has failed to establish by clear and convincing evidence that claim

   2 is not enabled by the patent's written description. Example 13 provides a

   protocol to evaluate the efficacy of treating R/R MCL with a BTK inhibitor. The

   protocol instructs that the BTK inhibitor should be administered at a dose of 560

   mg per day. Given the Summary of the Invention's focus on ibrutinib as the

   specific BTK inhibitor to be used in treating R/R MCL, an artisan of ordinary skill

   would understand from reading the patent that ibrutinib is to be used as the "BTK

   inhibitor" of Example 13. Application ofJohnson, 558 F.2d 1008, 1017 (C.C.P.A.

   1977) ("[T]he specification as a whole must be considered in determining whether

   the scope of enablement provided by the specification is commensurate with the

   scope of the claims."). And an artisan of ordinary skill would be able to follow the

   protocol of Example 13 using ibrutinib and thus practice the method described in

   claim 2. That Example 13 is a "hypothetical clinical trial" with "no actual clinical

   results," D.I. 325 at 17-18, is immaterial since "efficacy data are generally not

   required in a patent application." Allergan, Inc. v. Sandoz Inc., 796 F.3d 1293,

   1310 (Fed. Cir. 2015) (citation omitted).

                2.    Written Description

         Alvogen argues that claim 2 "lacks adequate written description because it

   overreaches the scope of the inventor's contribution to the field of art as described
                                            51
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 58 of 97 PageID #: 36071




   in the patent specification, which merely discloses nothing more than a hoped-for

   function for an as-yet-to-be discovered invention." D.I. 325 at 16 (citations,

   alterations, and quotation marks omitted). I disagree. As I just explained,

   Example 13, when read in the light of the remainder of the written description,

   enables and describes claim 2 of the #090 patent. In addition, the written

   description also describes a method of treating R/R MCL using ibrutinib orally

   administered at a dose of about 560 mg/day, i.e., claim 2. #090 patent at 4:52-5:1,

   5:8-11; Tr. 1298:4-1300:2. Alvogen has therefore failed to establish by clear and

   convincing evidence that claim 2 is not adequately described.

                3.    Obviousness

         I have already found as a factual matter that Alvogen did not prove by clear

   and convincing evidence that an artisan of ordinary skill would have been

   motivated to combine with a reasonable expectation of success the teachings of the

   prior art to achieve the claimed method of treating R/R MCL with a once-daily

   dose of about 560 mg ofibrutinib. These factual findings are fatal to Alvogen's

   obviousness theory.

         Secondary considerations also counsel against a finding of obviousness. The

   evidence adduced at trial showed a long-felt but unmet need, failure of others,

   unexpected results, and skepticism. Of these secondary considerations, I find




                                            52
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 59 of 97 PageID #: 36072




  especially probative the existence of a long-felt but unmet need for a treatment of

  R/R MCL that was better tolerated by the elderly.

        Imbruvica®' s commercial success also supports a finding of nonobviousness.

  Alvogen argues that Pharmacyclics failed to demonstrate a nexus between the

  method of treatment claimed in claim 2 and Imbruvica®'s success. But "[a] prima

  facie case of nexus is made when the patentee shows both that there is commercial

  success, and that the product that is commercially successful is the invention

  disclosed and claimed in the patent." Croes, Inc. v. U.S. Int'! Trade Comm 'n, 598

  F.3d 1294, 1310-11 (Fed. Cir. 2010). And Pharmacyclics has made a prima facie

  case here since Imbruvica®'s label indicates that "560 mg [is to be] taken orally

  once-daily" for the treatment ofR/R MCL. PTX-1343 at 1.

        "Once the patentee demonstrates a prima facie nexus, the burden of coming

  forward with evidence in rebuttal shifts to the challenger." Id. Alvogen, however,

  has offered no evidence that Imbruvica®'s commercial success is caused by

  unclaimed features of the invention. Accordingly, Imbruvica®'s commercial

  success weighs in favor of a finding of nonobviousness. But I also note that even

  if, as Alvogen claims, there were no relevant evidence of commercial success, I

  would not change my ultimate conclusion with respect to the obviousness of claim

  2 since the evidence of the secondary considerations "is not a requirement for

  patentability." Custom Accessories, Inc. v. Jeffrey-Allan Ind., Inc., 807 F.2d 955,

                                           53
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 60 of 97 PageID #: 36073




  960 (Fed. Cir. 1986); see also id. ("[T]he absence of objective evidence is a neutral

  factor.").

         In short, I conclude as a matter of law that Alvogen failed to establish that

  claim 2 of the #090 patent is invalid as obvious under § 103.

               4.     Obviousness-Type Double Patenting

         Alvogen argues that claim 2 of the #090 patent is invalid for obviousness-

  type double patenting because "the [#]015 [p]atent describes a 'therapeutically

  effective amount' as between 1 and 1500 mg ibrutinib, which includes the 'about

  560 mg' ibrutinib" in claim 2 of the #090 patent. D.I. 325 at 25. As noted above,

  when addressing an obviousness-type double patenting challenge to a patent, the

  court first "construes the claim in the earlier patent and the claim in the later patent

  and determines the differences." Eli Lilly, 25 l F.3d at 968. The court next

  "determines whether the differences in subject matter between the two claims

  render the claims patentably distinct." Id.

         Claim 20 of the #015 patent and claim 2 of the #090 patent differ in

  numerous ways. Claim 20 claims a method of treating any often lymphomas-

  including MCL, but not R/R MCL-whereas claim 2 claims a method of treating

  RIR MCL. Claim 20 generally claims administration of "a therapeutically

  effective amount" of ibrutinib, whereas claim 2 recites a fixed dose of about 560

  mg ofibrutinib per day. Claim 20 does not recite the spacing of the doses (e.g.,


                                            54
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 61 of 97 PageID #: 36074




  every other day, once-daily, twice daily, etc.), whereas claim 2 requires a single

  dose administered each day. Claim 20 does not recite how the dose is to be

  administered, whereas claim 2 requires that the dose be orally administered.

        Although claim 20 indisputably does not claim a numerical dosage amount

  or range, Alvogen contends that claim 20 's "therapeutically effective amount" is

  not patentably distinct from claim 2's "about 560 mg" dosage amount. In support

  of this contention it argues (1) that because the #015 patent's written description

  discloses a dosage range of between 1 and 1500 mg ibrutinib, "there is a

  presumption of obviousness" that Pharmacyclics has not rebutted, D.I. 325 at 25-

  26 (citation omitted); and (2) that claim 2 of the #090 patent "is obvious because

  the 'therapeutically effective amount' could be determined (according to the

  [#]015 [p]atent) through 'routine experimentation,"' D.I. 325 at 26. These

  arguments conflate single-reference obviousness with obviousness-type double

  patenting and improperly use the #015 patent's written description as prior art in an

  obviousness-type double patenting analysis. Obviousness-type double patenting

  "is altogether a matter of what is claimed," and Federal Circuit "precedent makes

  clear that the disclosure of a patent cited in support of a double patenting rejection

  cannot be used as though it were prior art." Gen. Foods Corp., 972 F.2d at 1281

  (emphasis in the original).




                                            55
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 62 of 97 PageID #: 36075




          Because Alvogen never raised the defense of single-reference obviousness in

   the Pretrial Order, it has waived these arguments. Were I to address the merits of

   Alvogen's arguments, I would reject them for at least four reasons. First, there is

   no presumption of obviousness attached to a dosage amount that falls within the 1-

   1500 mg range disclosed in the #015 patent's written description. A presumption

   of obviousness "attaches only when 'the range or value of a particular variable' is

   'the difference between the claimed invention and the prior art."' Tris Pharma, Inc.

   v. Actavis Labs. FL, Inc., 2020 WL 7028456, at *15 (D. Del. 2020) (emphasis in

   the original) (citing Haynes Int'l, Inc. v. Jessop Steel Co., 8 F.3d 1573, 1577 n.3

   (Fed. Cir. 1993)). As noted above, there are many differences between the claimed

   invention and claim 20, including the applicable disease, route of administration,

   and number of administrations per day.

          Second, the #015 patent's written description actually discloses two ranges

   of doses from "0.02-5000 mg per day, or from about 1-1500 mg per day,"

   administered in a single dose or many doses per day, #015 patent at 84:31-38,

   through several potential routes of administration, #015 patent at 62: 13-1 7. The

   breadth of these ranges in the written description is another reason the presumption

   of obviousness does not apply. Allergan, 796 F.3d at 1305 (burden may not shift

   to patentee where ranges are so broad as to encompass a very large number of

   distinct possibilities).


                                             56
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 63 of 97 PageID #: 36076




         Third, the presumption is a "specific application" of the general legal

   principle that "it is not inventive to discover the optimum or workable ranges by

   routine experimentation." E.1. DuPont de Nemours & Co. v. Synvina C. V., 904

   F.3d 996, 1006 (Fed. Cir. 2018). But, as discussed above, routine experimentation

   would not have resulted in a dose amount of 560 mg.

         Fourth, the evidence Pharmacyclics adduced at trial would have rebutted any

   presumption of obviousness. As discussed above, the disclosures in the #015

   patent in combination with the additional disclosures of the #921 publication,

   Pollyea, and the December 2009 Press Release do not render claim 2 of the #090

   patent invalid for obviousness.

         It follows that the #015 patent by itself does not invalidate the #090 patent

   under a theory of single-reference obviousness. It also follows that differences in

   subject matter between claim 20 of the #015 patent and claim 2 of the #090 patent

   render the claims patentably distinct. Amgen Inc. v. F. Hoffmann-La Roche, Ltd.,

   580 F.3d 1340, 1361 (Fed. Cir. 2009) (determining whether the differences in

   subject matter between the two claims render the claims patentably distinct "is

   analogous to an obviousness analysis under 35 U.S.C. § 103").

   V.    THE #455 PATENT (THE CRYSTALLINE FORM PATENT)

         Claim 5 of the #455 patent is directed to a crystalline form of ibrutinib.

   Alvo gen contends that claim 5 is invalid because (1) it is inherently anticipated by


                                            57
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 64 of 97 PageID #: 36077




   Pollyea and Fowler; and (2) it is obvious in light ofHonigberg, Miller, and U.S.

   Patent No. 7,514,444 (the #444 patent).

         A.     Findings of Fact

                1.     Artisan of Ordinary Skill

         An artisan of ordinary skill would have had a bachelor's degree in chemical

   engineering, pharmaceutical science, or a related field, with some knowledge of

   solid state or analytical chemistry, and several years of experience in the

   pharmaceutical industry, which would include experience with analytical

   techniques used in the industry; or somebody with an advanced degree in one of

   these fields with less experience. Alvogen's expert-Dr. Jennifer Swift- used a

   slightly different definition of an artisan of ordinary skill but testified that her

   opinions related to the #45 5 patent would not change if she had used the definition

   stated above. Tr. 563:14-564:3.

                2.     Priority Date

         The #455 patent has a priority date no later than June 4, 2012. JTX-9 at 2;

   Tr. 553:6-11; D.I. 276-1 Ex. 1,157.

                3.     Crystalline Forms

         Solids are either amorphous or crystalline in form. The constituent atoms or

   molecules of an amorphous solid are randomly arranged. The constituent atoms or

   molecules of a crystalline solid are arranged in definite and repeating patterns. Tr.

   706:9-17, 531 :2-12, 531 :25-532:8. These repeating patterns, often referred to as
                                              58
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 65 of 97 PageID #: 36078




   "packing arrangements," vary. When a compound has more than one crystalline

   form (because its constituent atoms or molecules can have more than one packing

   arrangement), it is said to exhibit polymorphism and the crystalline forms of such a

   compound are sometimes referred to as polymorphs. Tr. 706:18-25.

         Polymorphs can exhibit markedly different physical properties. For

   example, graphite and diamonds are both polymorphs of carbon, but the two

   materials vary substantially in their hardness-a difference entirely attributable to

   their different crystalline forms. Tr. 531 :2-24. The crystalline form of a

   pharmaceutical compound can affect the compound's stability, safety, and

   efficacy. Tr. 532:11-533:9. In general, a pharmaceutical formulator prefers to use

   a crystalline form that is highly stable in order to reduce the likelihood that the

   compound will convert to a physical form that might be less safe or efficacious.

   DTX-1008 at 18-20; Tr. 539:11-22. That said, a drug product may contain an

   active ingredient in an amorphous or metastable form. Tr. 632:21-633:1, 640:5-9,

   641:1-3; see also DTX-1025 at-936.

         Discovering new crystalline forms is challenging and unpredictable. DTX

   2188 at -0197 ("Obtaining new crystal forms, whether by systematic search or by

   serendipity, is an adventure into the crystallographic unknown, and preparing or

   recognizing a new crystal form is undeniably a chemical invention."); Tr. 788 :7-

   21, 173 0: 18-1731: 13; DTX-1008 at 16 ("Which polymorph of a crystalline drug

                                             59
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 66 of 97 PageID #: 36079




   will form under certain conditions cannot be predicted."). An experiment designed

   to discover new polymorphs is referred to as a polymorph screen.

                4.    X-Ray Powder Diffraction

         X-ray powder diffraction (XRPD) is the most common method of

   distinguishing and identifying polymorphs. Tr. 533:10-22. XRPD works by

   bombarding a crystalline form sample with x-rays and measuring the intensity of

   x-rays that are scattered (i.e., diffracted) off the sample. XRPD experiments

   produce plots--called XRPD patterns-that are unique to the crystalline form

   being studied. These plots contain various peaks associated with the angle of

   diffraction (referred to as 2-Theta). DTX-1008 at 19; Tr. 533:23-534:21, 534:25-

   535:15.

                5.    Claim 5 and Crystalline Forms of lbrutinib

         Claim 5 depends from claim 1 and is directed to " [a] crystalline Form A of

   [ibrutinib] that has an X-ray powder diffraction (XRPD) pattern comprising 2-

   Theta peaks at 5.7±0.1 °, 18.9±0.1 °, and 21.3±0.1 °," and that "further comprises 2-

   Theta peaks at 13.6±0.1 °, 16.1±0.1 °, and 21.6±0.1 °." #455 patent at claims 1, 5.

   Crystalline Form A is the most stable form of ibrutinib currently known.

         The written description of the #455 patent teaches that ibrutinib exists in

   multiple crystalline forms and in an amorphous form. #455 patent at 10:17-50; see

   also Tr. 625:17-24, 640:5-9, 641:1-3, 1701:13-1702:3, 1657:25-1659:10.


                                            60
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 67 of 97 PageID #: 36080




                6.    Prior Art for Anticipation-Pollyea (DTX-467) and Fowler
                      (DTX-148)

         Pollyea discloses interim results of a dose escalation study conducted by

   Pharmacyclics of PCI-32765, an orally administered covalent inhibitor ofBTK.

   DTX-467 at -536-37; Tr. 566:1-10. Fowler discloses updated results of the study.

   DTX-148 at -901-02; Tr. 594:2-595:6.

         PCI-32765 refers to ibrutinib. DTX-278 at -682; Tr. 1605:1-10, 1658:19-

   1659:1, 1701:12-24. But PCI-32765 does not refer to a particular form (e.g.,

   amorphous or crystalline) of ibrutinib. Compare JTX-334 at 1, 8 (describing PCI-

   32765 as having the "consistency of foam," making the sample amorphous, Tr.

   1659:6-10) with JTX-551 at 9, tbl. 1 (listing two other crystalline forms of

   ibrutinib-Forms Band C-under the code name PCI-32765); see also Tr.

   649:10-650:19 (Dr. Swift admitting that she was unsure what form ofibrutinib

   PCI-32765 referred to); Tr. 1697:15-1698:3, 1699:4-1702:3 (Dr. Myerson

   explaining that PCI-32765 does not refer to a particular form of ibrutinib); Tr.

   1745:8-14, 1746:6-15. Accordingly, neither Pollyea nor Fowler inherently

   disclose crystalline Form A of ibrutinib.

                7.    Prior Art for Obviousness

                      a.     Honigberg (DTX-278)

         Honigberg discloses in its Figure 1 the chemical structure of PCI-32765 (i.e.,

   ibrutinib). DTX-278 at -682; Tr. 600:21-601:1, 601:6-9. Honigberg discloses that

                                               61
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 68 of 97 PageID #: 36081




   PCI-32765 was undergoing clinical trials in humans and had "shown promising

   clinical activity" as a "potent, selective and irreversible BTK inhibitor." DTX-278

   at -685; Tr. 601: 11-17. Honigberg does not identify any crystalline forms of

   ibrutinib or disclose the properties of crystalline forms or how to make them. Tr.

   1705:5-21, 659:21-660:5; DTX-278

                       b.      U.S. Patent No. 7,514,444 (the #444 patent) (DTX-1)

         The #444 patent discloses the chemical name and structure of ibrutinib

   (referred to in the patent as "Compound 13") and a method of synthesizing

   ibrutinib. #444 patent at 4:4-6, 97:1-35. The #444 patent also discloses at least

   ten other BTK inhibitors by name, see #444 patent at 4:1-26 (naming compounds

   4-6, 8-12, 14, and 15), and dozens more by structure, #444 patent at 36:30-51:37.

   The #444 patent discloses that BTK inhibitors such as ibrutinib may be used for

   the treatment of various diseases, including lymphoma. #444 patent at p. 1

   (Abstract); Tr. 605:9-18.

         The #444 patent states that the disclosed BTK inhibitors "may be in various

   forms," including in different crystalline forms. Id. at 60:38-49 (emphasis added).

   But the patent does not disclose that any crystalline forms of ibrutinib actually

   exist. The patent also teaches that [v]arious factors such as the recrystallization

   solvent, rate of crystallization, and storage temperature may cause a single crystal

   form to dominate." Id. (emphasis added). But the #444 patent does not provide


                                             62
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 69 of 97 PageID #: 36082




   any guidance about which, if any, of these factors would apply to crystalline forms

   of ibrutinib.

                       c.    Miller (DTX-1657)

          Miller is a general reference on polymorphism. It does not mention ibrutinib

   or teach how to make crystalline forms of ibrutinib. Tr. 1707:24-1709:5, 653 :4-

   654: 19; DTX-1657. Miller gives a general introduction to crystal forms, crystal

   stability, crystallization, and polymorph screening. DTX-1657 at -759-60, -772-

   81; Tr. 552:32-553:1, 553:14-18.

                       d.    Bauer (DTX-1008)

          Bauer is a general reference on polymorphism. It does not mention ibrutinib

   or teach how to make crystalline forms of ibrutinib. Tr. 1707:24-1709:5, 653 :4-

   654: 19; DTX-1008. Bauer discusses polymorphism and matters related to

   polymorphism that should be considered during pharmaceutical development.

   DTX-1008 at 19-20; Tr. 555:7-11, 556:14-557:12. Bauer discloses that

   crystalline solids are usually highly stable and that most drugs are formulated using

   a crystalline form of the API for this reason. DTX-1008 at 16.

          Bauer teaches that " [w ]hich polymorph of a crystalline drug will form under

   certain conditions cannot be predicted." Id. at 18. It also teaches that studies to

   develop new crystalline forms require "crystallizing the drug from multiple




                                             63
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 70 of 97 PageID #: 36083




   solvents of differing polarities, different solvent combinations, at different

   temperatures, at different rates of cooling, and other experimental conditions." Id.

                8.     Comparison of Claimed Limitations with the Prior Art

         Claim 5 of the #455 patent claims crystalline forms of ibrutinib that have an

   XRPD pattern with 2-Theta peaks at six particular angles. Two of the prior art

   references-Honigberg and the #444 patent-disclose ibrutinib. But none of the

   prior art references disclose a crystalline form of ibrutinib, any XRPD data for

   crystalline ibrutinib, or how an artisan would crystallize ibrutinib generally or with

   the six claimed 2-Theta peaks.

                9.     Obviousness

         Alvogen argues that the #455 patent is invalid for obviousness because an

   artisan of ordinary skill would have been motivated to combine the teachings of

   Honigberg, the #444 patent, Miller, and Bauer to achieve a crystalline form with

   the six claimed 2-Theta peaks and would have had a reasonable expectation of

   success in doing so.

                       a.    Motivation

         An artisan of ordinary skill would have understood from Bauer that

   crystalline forms of a drug were preferred over amorphous forms for solid oral

   dosage because they were more stable. That artisan would also have known from

   Honigberg that ibrutinib showed promising clinical results. Thus, I agree with


                                             64
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 71 of 97 PageID #: 36084




   Alvogen that an artisan of ordinary skill would have been motivated to develop a

   crystalline form of ibrutinib.

            But the inquiry is not whether an artisan would have been motivated to

   develop a crystalline form of ibrutinib; the inquiry is whether an artisan would

   have been motivated to develop crystalline ibrutinib having 2-Theta peaks at

   5.7±0.1 °, 13.6±0.1 °, 16.1±0.1 °, 18.9±0.1 °, 21.3±0.1 °, and 21.6±0.1 °. See KSR,

   550 U.S. at 418 (directing courts to consider an artisan's motivation to combine

   "the known elements in the fashion claimed by the patent at issue" (emphasis

   added)); In re Cyclobenzaprine, 676 F.3d at 1069 (directing courts to determine

   whether an artisan would have been motivated to "to achieve the claimed

   invention"); Tris Pharma, Inc. v. Actavis Labs. Fl, Inc., 755 Fed App'x 983, 990

   n.5 (Fed. Cir. 2018) (defendant must demonstrate a motivation to combine all the

   claimed limitations). And none of Alvogen's cited prior art references disclosed a

   crystalline form with any of the six claimed 2-Theta peaks, let alone suggested that

   a crystalline form with the six claimed 2-Theta peaks would be more desirable than

   any other crystalline form. Thus, none of these references would have motivated

   an artisan to develop a crystalline form of ibrutinib with the claimed 2-Theta

   peaks.




                                             65
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 72 of 97 PageID #: 36085




                      b.     Reasonable Expectation of Success

         As I found above, discovering new crystalline forms is challenging and

   unpredictable. While an artisan of ordinary skill might have had some expectation

   of finding a crystalline form of a compound, there is no predictability in producing

   a particular crystalline form before it is discovered. There are numerous variables

   in the crystallization process, but the prior art did not teach which variables would

   be key to crystallizing ibrutinib. See, e.g., DTX-1008 at 18 (giving numerous

   variables for crystallizing drug compounds and stating that "[w]hich polymorph of

   a crystalline drug will form under certain conditions cannot be predicted"). As the

   prior art did not teach how to make any crystalline form of ibrutinib, an artisan of

   ordinary skill in June 2012 could not reasonably have expected to make a

   crystalline form of ibrutinib with the six claimed 2-Theta peaks.

                      c.     Secondary Considerations

                             1)     Unexpected Benefits

         Crystalline Form A demonstrates excellent stability and the ability to be

   reliably manufactured on a commercial scale and formulated into a high-load

   tablet. Tr. 1711: 17-1712:6. These properties-stability and the ability to be

   manufactured and formulated into a high load tablet-are not present in all

   crystalline forms. Id. And as Dr. Swift recognized, these properties made

   crystalline Form A an "ideal crystalline form" for pharmaceutical development.

   Tr. 596:15-597:4. The existence of Form A, let alone its highly desirable
                                         66
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 73 of 97 PageID #: 36086




   properties, is nowhere suggested in the prior art. Tr. 1666:14-20. Thus, that Form

   A would have these desirable properties and be an "ideal" crystalline form was

   unexpected.

         Alvogen suggests that these desirable properties were to be expected

   because stability and manufacturability are endemic to many of the most stable

   crystalline forms. D.I. 325 at 43 (citing D.I. 336,201). But this argument

   requires that an artisan of ordinary skill to have understood that crystalline Form A

   was the most stable form at the time of the priority date. Because an artisan of

   ordinary skill would not have had that understanding, the unexpected stability and

   manufacturability of crystalline Form A support a finding of nonobviousness.

                             2)     Copying

         Numerous companies, including Alvogen, have sought to manufacture

   generic Imbruvica® capsules and tablets with crystalline Form A of ibrutinib, even

   though companies are not required to use Form A. Tr. 1712:13-24.

   Pharmacyclics argues that this copying demonstrates nonobviousness. Alvogen

   responds by suggesting that copying is due to a desire to show bioequivalence.

   D.I. 325 at 42 (citing Bayer Healthcare Pharm., Inc. v. Watson Pharm., Inc., 713

   F.3d 1369, 1377 (Fed. Cir. 2013) (copying reference drug preparations "is not

   probative of nonobviousness because a showing of bioequivalence is required for

   FDA approval")).


                                            67
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 74 of 97 PageID #: 36087




         Although a generic manufacturer could show bioequivalence using a

   physical form of ibrutinib other than crystalline Form A, the evidence adduced at

   trial establishes that different physical forms often have different pharmacological

   properties. See Tr. 532:11-533:9; DTX-1008 at-2166 (different polymorphs "may

   or may not cause a difference in pharmacological effect (i.e., how the drug may

   work in the human body[)]"). Pharmacyclics has thus not shown that the copying

   is due to a desire to gain the benefits of the invention as opposed to a need to show

   bioequivalence. Accordingly, I do not find the other drug manufacturers' use of

   Form A in their generic products to be probative of nonobviousness.

         B.     Conclusions of Law

                1.    Anticipation

         Alvogen argues that Pollyea and Fowler inherently anticipate claim 5 of the

   #455 patent because every lot of PCI-32765 used in the Phase I study was

   crystalline Form A of ibrutinib. D.I. 325 at 36-37. Alvogen argues that because

   crystalline "Form A was the compound in the Phase I study, the references

   necessarily disclose it." D.I. 325 at 37 (emphasis in the original). But the Federal

   Circuit rejected such an argument in Endo Pharmaceuticals Solutions, Inc. v.

   Custopharm Inc., 894 F.3d 1374, 1381-82 (Fed. Cir. 2018). 10




   10
     Although Endo considered inherency in the context of an obviousness analysis, I
   see no reason why its analysis would not be applicable in an anticipation analysis.
                                           68
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 75 of 97 PageID #: 36088




         In Endo, prior art publications described clinical studies for a testosterone

   injection but did not disclose the specific formulation---called the vehicle

   formulation-used to deliver the testosterone that was later claimed in the patent.

   Id. 1377-78. The defendant in Endo argued "that the [claimed] vehicle

   formulation was 'necessarily present' in the [prior art publications] because it was

   later revealed to be the actual formulation the authors of the [publications] used in

   their reported clinical studies." Id. at 1381. The Federal Circuit disagreed. The

   court noted that although the prior art references disclosed pharmacokinetic

   performance data, the defendant had failed to prove by clear and convincing

   evidence that the pharmacokinetic data could only result from the claimed vehicle

   formulation. Id. 13 81-82. Because a number of different vehicle formulations

   were possible, the court concluded that "a skilled artisan, reviewing the

   [publications], would not have necessarily recognized that the [publications']

   authors used [the claimed vehicle formulation] for their reported clinical studies."

   Id. at 1382.




   Alvogen has not offered such a reason. And in fact, the court in Endo cites
   caselaw from§ 102 cases in its analysis. See 894 F.3d at 1381 (citing In re
   Oelrich, 666 F.2d 578, 581 (Fed. Cir. 1981)). Additionally, the Patent Trial and
   Appeal Board has applied Endo in an anticipation analysis. See Amgen Inc. v.
   Alexion Pharms., Inc., No. IPR2019-00739, 2019 WL 4132683, *9-15 (PTAB
   Aug. 30, 2019).
                                           69
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 76 of 97 PageID #: 36089




         In this case, Alvogen has not proven that a Phase I dose escalation study

   could only be conducted with crystalline Form A of ibrutinib. Because a Phase I

   dose escalation study could be performed with amorphous ibrutinib or one of its

   metastable polymorphs, "a skilled artisan, reviewing [Pollyea or Fowler], would

   not have necessarily recognized that [Pollyea's or Fowler's] authors used

   [crystalline Form A] for their reported clinical stud[y]." Id.

         In short, since crystalline Form A was not necessarily present in Pollyea or

   Fowler, Alvogen has failed to prove by clear and convincing evidence that claim 5

   of the #455 patent is invalid as anticipated under§ 102.

                 2.    Obviousness

         As I found above, Alvogen .has not shown by clear and convincing evidence

   that an artisan of ordinary skill would have been motivated to combine the

   teachings of the prior art to achieve the claimed crystalline form with the six·

   claimed 2-Theta peaks and would have had a reasonable expectation of success in

   doing so. In addition to the lack of motivation and reasonable to expectation of

   success, the secondary consideration of unexpected results also supports a finding

   of nonobviousness. Accordingly, I conclude as a matter of law that Alvogen has

   not met its burden to establish that claim 5 of the #455 patent is invalid as obvious

   under§ 103.




                                             70
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 77 of 97 PageID #: 36090




   VI.   THE #857 PATENT (THE TABLET FORMULATIONS PATENT)

         The #857 patent is directed to pharmaceutical formulations of ibrutinib.

   Claims 30 and 37 claim high-load solid tablet formulations consisting essentially

   of ibrutinib and other ingredients at specific weight concentrations (% w/w) (claim

   30) and ranges of weight concentrations (claim 37). #857 patent at claims 30, 37;

   Tr. 1798:23-1799:9. Alvogen argues that claims 30 and 37 are invalid for lack of

   adequate written description and for obviousness in light of the following prior art

   references: Imbruvica® Capsule Label; U.S. Patent Application Publication No. US

   2013/0338172 (the #172 publication); an international patent application filed by

   Goldstein; and the Handbook of Pharmaceutical Excipients (HPE).

         A.     Findings of Fact

                1.     Artisan of Ordinary Skill

         I find that an artisan of ordinary skill would have had a Ph.D. in pharmacy,

   chemistry, or chemical engineering, or a related field, with experience in industry

   or university in drug delivery and/or development of solid dosage forms; or a B.S.

   or M.S. in pharmacy, chemistry, or chemical engineering, or a related field, with

   more experience in industry or university in drug delivery and/or development of

   solid dosage forms. Alvogen's expert-Dr. Reza Fassihi-used a slightly different

   definition of an artisan of ordinary skill but testified that his opinions related to the

   #857 patent would not change ifhe had used the definition stated above. Tr.

   259:9-24.
                                              71
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 78 of 97 PageID #: 36091




                2.      Priority Date

         The #857 patent's priority date is March 3, 2015. D.I. 276-1 Ex. 1, ,r 81.

                3.      Tablets Generally

         Ingredients in solid dosage pharmaceutical formulations-e.g., tablets or

   capsules-are generally classified as either an active pharmaceutical ingredient

   (API) or an excipient. Tr. 25 5: 18-24. An API is an ingredient that is intended to

   bring about a pharmacological or therapeutic effect. Tr. 251: 18-20. Excipients, or

   inactive ingredients, assist in the manufacturing process or delivery of the active

   ingredient to a patient. Tr. 256:1-7. Excipients in tablets commonly serve as

   fillers, binders, glidants, lubricants, disintegrants, and surfactants. Tr. 115 5 :9-14.

                4.      Claims 30 and 37

         Claim 30 reads:

                The high-load solid tablet formulation of claim 1,
                consisting essentially of:
                      a)     about 70% w/w ofibrutinib,
                      b)     about 14% w/w of lactose monohydrate,
                      c)     about 5% w/w of microcrystalline cellulose,
                      d)     about 2% w/w of polyvinylpyrrolidone,
                      e)     about 7% w/w of croscarmellose sodium,
                      f)     about 1% w/w of sodium lauryl sulfate,
                      g)     about 0.5% w/w of colloidal silicon dioxide,
                             and
                      h)     about 0.5% w/w of magnesium stearate.

   #857 patent at claim 30. Claim 1, from which claim 30 depends, requires the

   inactive excipients of claim 30 to be pharmaceutically acceptable excipients. #857

   patent at claim 1.
                                              72
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 79 of 97 PageID #: 36092




         Claim 3 7 reads:

                The solid tablet formulation of claim 27 consisting
                essentially of
                       a)    about 69% w/w to about 71 % w/w of
                             ibrutinib,
                       b)    about 13% w/w to about 15% w/w of lactose
                             monohydrate,
                       c)    about 2% w/w to about 5% w/w of
                             microcrystalline cellulose,
                       d)    about 1% w/w to about 3% w/w of
                             polyvinylpyrrolidone,
                       e)    about 6% w/w to about 8% w/w of
                             croscarmellose sodium,
                       f)    about 1% w/w to about 4% w/w of sodium
                             lauryl sulfate,
                       g)    about 0.4% w/w to about 0.6% w/w of
                             colloidal silicon dioxide, and
                      h)     about 0.4% w/w to about 0.6% w/w of
                             magnesium stearate.

   #857 patent at claim 37. Claim 27, from which claim 37 depends, requires the

   amount of ibrutinib to be between about 70 mg to about 840 mg. #857 patent at

   claim 27. The patent's written description explains that the phrase "consisting

   essentially of' (which appears in both asserted claims) means "excluding other

   elements of any essential significance to the combination for the intended use, but

   not excluding elements that do not materially affect the characteristic(s) of the

   compositions .... " #857 patent at 26:28-33.

                5.     Written Description

         The written description of the patent recites verbatim the formulations

   claimed in claims 30 and 37, describes them as being for high-load solid tablets,

                                            73
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 80 of 97 PageID #: 36093




   and characterizes them as embodiments of the invention. #857 patent at 43:47-

   44:6. It then goes on to state that in some of those embodiments, the ibrutinib

   dosage can be between 35 mg and 840 mg. #857 patent at 45:32-37. The written

   description also discloses an ibrutinib tablet formulation (BK21A) that satisfies

   every limitation of claims 30 and 37. #857 patent at tbl. IF. The written

   description does not provide fixed amounts for the ingredients of the BK21A

   formulation but instead, as in the case of the formulations recited in claims 30 and

   37, describes the ingredient amounts by their respective weight concentrations. Id.

   Later, the written description describes experiments conducted with ibrutinib

   tablets using the BK21A formulation ratios in 140 mg and 560 mg doses. Id. at

   tbls. 7, 8. That the inventors were conducting studies with tablets using the

   BK21A formulation would have conveyed to an artisan of ordinary skill that the

   inventors were in possession of those tablets.

         An artisan of ordinary skill would have also understood that the formulations

   in the #857 patent, including those using the BK21A ratios in 140 mg and 560 mg

   doses, could have been scaled to make a tablet with the full range of claimed

   ibrutinib amounts. Tr. 1850:5-24. An artisan of ordinary skill could calculate the

   amount of each ingredient based on a desired ibrutinib dose or total tablet weight.

   Tr. 1850:5-24, 1219:24-1222:16 (Dr. Fassihi testifying that "[c]alculation is

   calculation"). Tr. 178:14-179:4. I thus find that the written description would

                                            74
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 81 of 97 PageID #: 36094




   have conveyed to an artisan of ordinary skill that the inventor had possession of the

   claimed subject matter.

                  6.    Prior Art
                        a.     lmbruvica® Capsule Label (DTX-1413)

          Imbruvica® Capsule Label is the first approved label for Imbruvica®

   capsules. D.I. 276-1 Ex. 1, ,r 224. The label lists the inactive ingredients in the

   140 mg Imbruvica® capsule, including croscarmellose sodium, magnesium

   stearate, microcrystalline cellulose, and sodium lauryl sulfate. Tr. 1813: 11-17,

   1159:23-1160:3. The label does not provide the amount of each excipient or the

   total weight of the capsule. Imbruvica® Capsule Label does not mention tablets.

   Tr. 1814:1-10, 1159:23-1160:3, 1209:11-13.

                        b.     The #172 Publication (DTX-1399).

          The #172 publication is a patent application that issued as U.S. Patent No.

   9,296,753, which was cited to the PTO during prosecution of the #857 patent.

   #857 patent at p. 2 (References Cited).

          The # 172 publication describes numerous ibrutinib dosage forms, including

   specific working examples. Tr. 1814:11-1815:18, 1818:23-1819:10; DTX-1399

   ,r,r 631-34.   Example 10 (titled "Capsule Formulations") describes four different

   ibrutinib capsule formulations with various excipients, including microcrystalline

   cellulose, croscarmellose sodium, sodium lauryl sulfate, and magnesium stearate.


                                             75
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 82 of 97 PageID #: 36095




   Tr. 1814:20-1815:6, 1162:4-15; DTX-139911631-32. Table 5 discloses the

   following four capsule formulations:

                                                 TABLES
                                          Capsule Formulations

                                    40mg          140mg          140mg          200mg
                                    Capsule       Capsule        Capsule        Capsule

                                          mg/           mg/            mg/            mg/
                                  wlw     cap-   wlw    cap-    w/w    cap-    w/w    cap-
                    Component      %      sule    %     sule     %     sule     %     sule

                     crystalline   29.6   40.0   60.9   140.0   42.4   140.0   74.1   200.0
                   Compound 1
                  Microcrystalline 57.4   77.5   23.0    53.0   45.9   151.4    8.5    23.0
                    cellulose NF
                  Croscarmellose 10.0     13.5   10.0    23.0    7.0    23.0   10.0    27.0
                     sodium NF
                   Sodiwn lauryl    3.0    4.0    6.1    14.0    4.2    14.0    7.4    20.0
                     sulfate NF
                    Magnesium      NA     NA      NA    NA       0.5     1.6   NA     NA
                    stearate NF



   DTX-13991631, tbl. 5.

         Example 11 (titled "Immediate Release Tablets") provides weight

   concentration ranges of ibrutinib and other ingredients for ibrutinib tablets. Tr.

   1815:7-21; DTX-139911633-34. Example 11 identifies hypromellose,

   microcrystalline cellulose, lactose, and magnesium stearate as required ingredients,

   and croscarmellose sodium as an optional ingredient. Tr. 1162: 19-1163 :3,

   1175:7-15, 1815:7-21; DTX-1399, 1633. Example 11 describes tablets between

   300 mg and 1,000 mg in weight, with ibrutinib up to 50% of the tablet weight. Tr.

   1815:7-21; DTX-13991633.




                                                   76
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 83 of 97 PageID #: 36096




                                                TABLE6
                                     Components of Tablet Formulation

                       Ingi:edient                        Range

                       crystalline Compound 1             5% to   50%
                       Hypromellose                       2% to   10%
                       Croscarmellose sodium              0% to   15%
                       Microcrystalline                   5% to   50%
                       cellulose
                       Lactose                            10% to 75%
                       Magnesium ste.arate                0.25% to 2.5%
                       Total                              Tablet weight range:
                                                          300 mg to 1000 mg



   DTX-13991633, tbl. 6.

                      c.       Goldstein (DTX-985)

         Goldstein is an international patent application that discloses ibrutinib

   formulations. Tr. 1812:12-20, 1163:6-14. Examples 2 and 3 are the only tablet

   formulations in Goldstein. Tr. 1812:23-1813:10, 1163:23-1164:11. The

   immediate release high-load tablet formulations of Examples 2 and 3 contain 80.9

   percent and 60.98 percent ibrutinib, respectively. DTX-985 at -2036-37; Tr.

   1164 :22-1166: 17. In addition to ibrutinib, Example 2 contains the following

   excipients and amounts: microcrystalline cellulose and/or lactose (collectively

   8.1 %), starch (7.3%), sodium starch glycolate (3.2%), magnesium stearate (0.3%),

   and silicon dioxide (0.2%). DTX-985 at -2036-37 (Example 2); Tr. 1163:6-

   1164:17, 1165:7-15. Example 3 contains the same excipients and amounts. DTX-

   985 at -2037; Tr. 1163:6-1164:17. Example 3 also includes hypromellose in its

   coating. Tr. 1164:12-1166:12; DTX-985 at -2036-37.


                                                   77
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 84 of 97 PageID #: 36097




         The inventors cited Goldstein to the PTO during the prosecution of the #857

   patent. JTX-49 at 15224, 15284, 15288; Tr. 1203:15-1204:15, 1206:17-1208:10.

                       d.    HPE (DTX-1625)

         HPE is a general reference that provides the descriptions of pharmaceutical

   excipients. Tr. 1167: 15-1168:5, 1054:25-1055: 10, 1815 :22-1816: 11, 1816: 18-

   22. HPE contains monographs for lactose monohydrate, microcrystalline

   cellulose, polyvinylpyrrolidone, croscarmellose sodium, sodium lauryl sulfate,

   colloidal silicon dioxide, magnesium stearate, as well as "hundreds" of other

   excipients. Tr. 1815:22-1816:11, 1816:18-22, 1168:10-17; DTX-1625 at -2403

   (microcrystalline cellulose), -2408 (colloidal silicon dioxide), -2411

   (croscarmellose sodium), -2418 (lactose monohydrate), -2429 (magnesium

   stearate), -2432 (polyvinylpyrrolidone), -2439 (sodium lauryl sulfate).

         HPE does not teach how to formulate any specific APL Thus, it teaches

   nothing about ibrutinib or its properties. Tr. 1816:12-17.

                7.     Comparison of Claimed Limitations with the Prior Art

         The following chart depicts for each asserted claim and prior art reference

   the disclosed ingredients and their weight concentrations: 11




   11
     Because HPE does not disclose an ibrutinib formulation, it is not listed in the
   chart. Similarly, excipients disclosed as being compatible with ibrutinib
   formulations but that are not part of a disclosed formulation are also omitted.

                                            78
                               Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 85 of 97 PageID #: 36098



                                                    #857 Patent                          Capsules                                  Tablets
                                                                           Imbruvica®           #172 Publication   #172 Publication Goldstein Exam pies
                                             Claim 30       Claim 37
                                                                          Capsule Label 12        Example 10 13      Example 11             2,3
                                                          about 69% to
                     Ibrutinib               about70%                          Yes                  42.4%              5-50%               80.9%
                                                            about71%
                     Microcrystalline                      about2%to
                     cellulose
                                             about5%                           Yes                  45.9%              5-50%              0-8.1%
                                                             about 5%
            .;:'l                                         about 13% to
                     Lactose                 about 14%                          -                     -               10-75%              0-8.1%
            .§                                              about 15%
            l~
                     Polyvinylpyrrolidone    about2%
                                                           about 1% to
                                                             about3%            -                     -                  -                  -
            ~        Croscarmellose                        about6%to
            'I:!                             about 7%                          Yes                   7.0%              0-15%                -
             Ill
            .§       sodium                                  about 8%
             <::I                                          about 1% to
            a        Sodium lauryl sulfate   about 1%
                                                             about4%
                                                                                Yes                  4.2%                -                  -
                                                          about 0.4% to
                     Silicon dioxide         about 0.5%                         -                     -                  -                 0.2%
                                                           about 0.6%
                                                          about 0.4% to
                     Magnesium stearate      about0.5%                         Yes                   0.5%           0.25%-2.5%             0.3%
                                                           about0.6%
 'I:! .;:'l          Hypromellose               -                 -             -                     -                2-10%                -
     Ill       :::
 .§ ~                Starch                     -                 -             -                     -                  -                 7.3%
 ~             Ill
     1\.1      s:., Sodium starch
 s~                  glycolate
                                                -                 -             -                     -                  -                 3.2%




12
  As noted above, Imbruvica® Capsule Label discloses the inclusion of the ingredient but does not set forth an
amount or weight concentration.
13
   Although Example 10 contains four formulations, both parties emphasized in their respective findings of fact this
particular formulation, which contains the same excipients as Imbruvica® capsules. See D.I. 336 ,r 227; D.I. 332
,r211.

                                                                                79
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 86 of 97 PageID #: 36099




         As can be seen above, none of the prior art references teach the claimed

   amounts of ibrutinib; nor do any of the references disclose an ibrutinib formulation

   that uses polyvinylpyrrolidone.

         The #172 publication's example 10 discloses croscarmellose sodium,

   sodium lauryl sulfate, and magnesium stearate in amounts that fall into the claimed

   ranges but teaches a microcrystalline cellulose amount that is approximately nine

   times greater than the amount of ibrutinib recited in claims 30 and 37. Example 10

   also does not teach the use of silicon dioxide or lactose in an ibrutinib formulation.

         The #172 publication's example 11 discloses microcrystalline cellulose,

   lactose, croscarmellose sodium, and magnesium stearate in amounts that fall into

   the claimed ranges. It does not, however, teach the use of sodium lauryl sulfate or

   silicon dioxide in an ibrutinib formulation and it also contains hypromellose, which

   is not an ingredient recited in claims 30 or 37.

         The Goldstein examples do not have the claimed amounts of lactose, silicon

   dioxide, or magnesium stearate and are missing croscarmellose sodium and sodium

   lauryl sulfate entirely. The examples described in Goldstein also contain the

   unclaimed ingredients starch and sodium starch glycolate. In fact, the only

   limitation of the claims that Goldstein teaches is the claimed amount of

   microcrystalline cellulose.




                                             80
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 87 of 97 PageID #: 36100




                8.     Obviousness

         I now tum to whether Alvogen has shown by clear and convincing evidence

   that an artisan of ordinary skill would have been motivated to combine with a

   reasonable expectation of success the claimed ingredients in their respective

   amounts to develop the claimed high-load solid tablet formulations of ibrutinib.

                       a.     Motivation

         Alvogen identifies in its posttrial briefing a single source of motivation for a

   skilled artisan to combine the claimed ingredients in their respective amounts. In

   Alvogen's words: "Drawbacks of capsules provided motivation to develop

   ibrutinib tablet formulations." D.I. 325 at 47 (capitalization altered); see also D.I.

   325 at 4 7 ("Disadvantages of formulating an API like ibrutinib in a capsule dosage

   form would have motivated a [skilled artisan] to pursue a tablet formulation prior

   to the priority date of the Tablet Claims."); D.I. 325 at 49 (arguing that "[t]he

   motivation to combine the[] [prior art] references [cited by Alvogen] is readily-

   apparent" because, "[h]aving the motivation to create ibrutinib tablets starting with

   the Imbruvica® [Capsule] Label, the [skilled artisan] would look to the[#] 172

   [p ]ublication and Goldstein because they describe specific ibrutinib tablet

   formulation examples." (underlining added; italics in the original)). Alvogen did

   not, however, adduce at trial any evidence, let alone clear and convincing

   evidence, that a skilled artisan perceived any such drawbacks as of the priority


                                             81
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 88 of 97 PageID #: 36101




   date. Alvogen alleges that the Imbruvica® capsule's 140 mg size made it

   "inconvenient for patients" because they had to take four capsules to obtain the

   recommended 560 mg dose. But it introduced at trial no evidence of patients

   feeling inconvenienced by Imbruvica®' s dosing regimen as of the priority date or

   of skilled artisans perceiving at that time that patients were inconvenienced by or

   failed to comply with the prescribed regimen. Alvogen also alleges that

   "[c]apsules can also be less stable" than tablets. D.I. 325 at 47. But it offered at

   trial no evidence that Imbruvica® capsules exhibited any instability or moisture

   loss. And the record evidence of humidity and moisture stability testing adduced

   by Pharmacyclics showed that the Imbruvica® capsule's stability was not affected

   by heat, humidity, or moisture. JTX-489 at 19; Tr. 1819:19-1820:13. I find

   therefore that Alvogen failed to meet its evidentiary burden to establish that an

   artisan would have been motivated to combine the cited prior art references to

   achieve the claimed invention.

                       b.    Reasonable Expectation of Success

         Alvogen argues that an artisan of ordinary skill would have had a reasonable

   expectation of success in making the claimed high-load tablet formulation, since,

   in its words, "it would have been nothing more than routine optimization to

   develop the [tablet formulation] from the Imbruvica® [Capsule] Label with such

   additional excipients that were disclosed in the literature and vary the amounts of


                                             82
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 89 of 97 PageID #: 36102




   excipients." D.I. 325 at 48. But Alvogen neither explains nor cites record

   evidence that shows what such "optimization" entails, which "routine" steps an

   artisan of ordinary skill would have pursued, or what variables an artisan of

   ordinary skill would have sought to "optimize[]." Tr. 1824:13-1825:5.

         In any event, I find that Alvogen' s cited references would not have provided

   a skilled artisan a reasonable expectation of success in developing the claimed

   tablet formulation. Considered alone or in combination, the references do not

   teach the ingredients and amounts recited in claims 3 0 and 37. A skilled artisan

   who studied the references as of the priority date would have been faced with a

   hodgepodge of teachings of capsules and tablets, with different excipients and

   different amounts, and no reason to pursue a formulation with the specific

   ingredients recited in the asserted claims.

         None of Alvogen's cited references teaches the claimed amount of ibrutinib,

   microcrystalline cellulose, or lactose; nor does any reference disclose an ibrutinib

   formulation using polyvinylpyrrolidone, about 0.5% silicon dioxide, or about 1%

   sodium lauryl sulfate. Goldstein's high-load tablets in Examples 2 and 3 do not

   contain any polyvinylpyrrolidone, croscarmellose sodium, or sodium lauryl

   sulfate-all of which are required by claims 30 and 37. And Examples 2 and 3

   contain starch and sodium starch glycolate-neither of which is present in the

   asserted claims. Goldstein's tablets contains ibrutinib, but in an amount (80.9%


                                             83
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 90 of 97 PageID #: 36103




   w/w) that differs significantly from the amounts of ibrutinib recited in claim 30

   ("about 70%") and claim 37 ("about 69% to about 71 %"). #457 patent at claims

   30 and 37; DTX-985 at -2036-37. Example 11 of the #172 publication describes

   an ibrutinib tablet formulation that lacks the claimed ingredients of

   polyvinylpyrrolidone, sodium lauryl sulfate, and silicon dioxide. It also contains

   hypromellose, which is not present in claims 30 and 37; and it uses 5-50%

   ibrutinib, rather than 70% (or 69-71 %).

         Alvogen's expert, Dr. Fassihi, opined that a skilled artisan would have

   selected polyvinylpyrrolidone rather than (i) hypromellose (used in Example 11 of

   the #172 publication), or (ii) starch and sodium starch glycolate (both used in

   Examples 2 and 3 of Goldstein). But the prior art did not teach that

   polyvinylpyrrolidone was a better binder to use with ibrutinib than those or any

   other widely-used binders. And although Dr. Fassihi opined that a skilled artisan

   could find polyvinylpyrrolidone in a list of binders in the #172 publication, that

   list also includes hypromellose, starch, and other binders that are not recited in the

   asserted claims. Id.; DTX-1399 'if'if 444,453; Tr. 1869:25-1870:17.

         Accordingly, I find that Alvogen has failed to establish by clear and

   convincing evidence that a skilled artisan would have had a reasonable expectation

   of success in formulating the claimed tablet formulation.




                                              84
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 91 of 97 PageID #: 36104




                       c.    Secondary Considerations

         Pharmacyclics argues that three objective indicia support a finding of

   nonobviousness: (1) Alvogen's copying of the Imbruvica® tablet formulation that

   embodies the claimed tablet formulations; (2) skepticism in the pharmaceutical

   industry that ibrutinib could be formulated as taught by the asserted claims; and (3)

   the commercial success of Imbruvica® tablets.

                             1)     Nexus

         As an initial matter, Alvogen argues that I should ignore Pharmacyclics' s

   evidence of copying and commercial success because Pharmacyclics failed to

   demonstrate that Imbruvica® tablets embody the asserted claims, and thus any

   copying or commercial success ofimbruvica® tablets is, according to Alvogen, not

   relevant to whether the claims are invalid for obviousness. D.I. 325 at 50.

         I find, however, that all four strengths of Imbruvica® tablets (140 mg, 280

   mg, 420 mg, 560 mg) meet the limitations of claims 30 and 37 and thus are

   commercial embodiments of the claims. Tr. 1803:18-1805:2, 174:16-25, 178:19-

   179:3, 209:12-25; JTX-337 at 1. Alvogen disputes this finding on the grounds that

   the claims "recite formulations 'consisting essentially of certain excipients" and

   Pharmacyclics "failed to analyze the excipients in the Imbruvica tablet coating to

   determine whether they are of essential significance to the combination for the

   intended use, or materially affect the characteristic(s) of the compositions." D.I.


                                            85
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 92 of 97 PageID #: 36105




   325 at 50-51. But Pharmacyclics elicited at trial credible testimony from Dr.

   Roland Bodmeier and Dr. Williams that the coating on Imbruvica® tablets does not

   materially affect their characteristics. See Tr. 186:14-16, 239:24-240:24,

   1870:24-1871:11. Accordingly, I reject Alvogen's contention that Pharmacyclics

   failed to establish a nexus between Imbruvica® tablets and the cited objective

   indicia of nonobviousness.

                             2)    Copying

         Although Pharmacyclics adduced compelling evidence that Alvogen copied

   the Imbruvica® tablet's formulation, see, e.g., Tr. 1845:7-17, 1847:15-22,

   1803:18-1805:5, 194:13-195:8, 197:24-198:11, 201:6-202:10, 207:19-22,

   209:12-25, 213:15-17; JTX-793 at 11; JTX- 638 at 4; JTX-134 at 3; JTX-337 at 1,

   I do not find Alvogen's copying to be probative of nonobviousness since a

   showing ofbioequivalence is required for FDA approval of Alvogen's tablet

   formulation. Bayer Healthcare Pharm., Inc. v. Watson Pharm., Inc., 713 F.3d

   1369, 1377 (Fed. Cir. 2013).

                            3)     Skepticism

         Pharmacyclics adduced at trial credible evidence that other pharmaceutical

   companies were skeptical that ibrutinib could be formulated as a 70% w/w tablet

   formulation with lactose as required by the claims. AbbVie, for example,

   questioned whether a target profile containing 70% w/w ibrutinib could be


                                           86
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 93 of 97 PageID #: 36106




   developed. Tr. 1829:21-1830:9, 1754:12-1755:6 (one of the #857 patent's

   inventors testifying that AbbVie described the target profile as being "a very

   difficult project to be successful"). Janssen, another sophisticated pharmaceutical

   company, criticized the 70% w/w ibrutinib formulation requirement, as it believed

   a 60% w/w ibrutinib formulation would improve manufacturability. Tr. 1832:12-

   1833:4, 1839:19-1840:3; JTX-478 at 2. And Janssen was also skeptical that

   ibrutinib could be formulated with lactose because of ibrutinib' s inclusion of a

   primary amine. Tr. 1831:1-14, 1235:4-10. As Pharmacyclics's expert, Dr. Robert

   0. Williams III, explained, when primary amines are formulated with sugars like

   lactose, a chemical reaction called a Maillard reaction can occur and degrade the

   drug. Tr. 1831:1-14. Janssen had concerns as of the priority date that such a

   reaction would cause stability problems during storage. Tr. 1831: 18-1832: 11;

   PTX-744 at 8. This evidence of actual skepticism by Janssen and AbbVie supports

   a finding ofnonobviousness. WBIPJ LLC v. Kohler Co., 829 F.3d 1317, 1335

   (Fed. Cir. 2016) ("If industry participants or skilled artisans are skeptical about

   whether or how a problem could be solved or the workability of the claimed

   solution, it favors non-obviousness.").

         Pharmacyclics also argues that Cai, a scientific reference, supports a finding

   of skepticism. Cai teaches that compounds with poor solubility (like ibrutinib) are

   often difficult to formulate "at very high drug loading (ca.>70%)" amounts. PTX-

                                             87
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 94 of 97 PageID #: 36107




   715 at 1. But I agree with Alvogen that Cai does not discuss ibrutinib and there

   were already examples of ibrutinib tablets with "very high drug loading" (e.g.,

   Goldstein Examples 2 and 3). In other words, Cai's general misgivings about

   high-load tablets with poorly-soluble APis would not amount to skepticism in light

   of the specific examples of Goldstein.

                            4)     Commercial Success

         As noted in my discussion concerning the #090 patent, Imbruvica® tablets

   are a commercial success.

         B.     Conclusions of Law

                1.    Obviousness

         I have already found as a factual matter that Alvogen did not prove by clear

   and convincing evidence that an artisan of ordinary skill would have been

   motivated to combine with a reasonable expectation of success the claimed

   ingredients in their respective amounts. This conclusion is bolstered by my

   findings regarding the secondary consideration of skepticism and commercial

   success.

         Alvogen's arguments that skepticism and commercial success do not support

   a finding of nonobviousness are unavailing. Alvogen argues that Pharmacyclics' s

   commercial success evidence is irrelevant because Pharmacyclics has not

   demonstrated nexus. But since Imbruvica® tablets are a commercial success and

   Imbruvica® tablets are an embodiment of the asserted claims, Pharmacyclics has
                                            88
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 95 of 97 PageID #: 36108




  made a prima facie case of nexus. And instead of affirmatively demonstrating that

  this success is due to some unclaimed factor, Alvogen spends its briefing arguing

  that plaintiffs have failed to show that the success is not due to some unclaimed

   factor. See D.I. 325 at 54 ("Plaintiffs' only purported evidence .... Plaintiffs

   further have no evidence .... Plaintiffs have no evidence .... "). Because

   Alvogen failed to rebut Pharmacyclics' s prima facie case of nexus, commercial

   success supports a finding of nonobviousness.

         With respect to the secondary consideration of skepticism, Alvogen suggests

   that skepticism had to be publicly available before the priority date. See D.l. 325

   at 51 n.35. But this assertion is contrary to the law. See Genetics Inst., LLC v.

  Novartis Vaccines & Diagnostics, Inc., 655 F.3d 1291, 1307 (Fed. Cir. 2011) ("[I]t

   would be error to prohibit a ... patentee from presenting relevant indicia of

   nonobviousness, whether or not this evidence was available or expressly

   contemplated at the filing of the patent application.").

         But while commercial success and skepticism are probative of

   nonobviousness, I did not find Pharmacyclics' s evidence of copying to be

   probative of nonobviousness. Nevertheless, a lack of one secondary consideration

   does not negate Alvogen' s failure to prove motivation and reasonable expectation

   of success by clear and convincing evidence. Accordingly, I conclude as a matter




                                             89
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 96 of 97 PageID #: 36109




   of law that Alvogen has failed to establish that claims 30 and 37 of the #857 patent

   are invalid as obvious under § 103.

                2.     Written Description

         Alvogen's written description argument appears to be that because the

   claims describe the ingredient amounts by their relative weight concentration

   whereas the written description only describes examples of tablets that embody the

   claims with fixed dosage amounts of 140 mg and 560 mg the inventors have

   "claimed more" than they have invented. See D.I. 325 at 55. But the written

   description is not limited to tablets with ibrutinib dosages of 140 mg and 560 mg.

   The written description teaches that an artisan can vary the amount of ingredients

   in the tablets as long as the artisan keeps the relative weight concentrations the

   same. Thus, consistent with my factual findings made above, Alvogen has failed

   to prove by clear and convincing evidence that the #857 patent's disclosure did not

   reasonably convey to those skilled in the art that the inventor had possession of the

   claimed subject matter as of the filing date. Claims 30 and 37 of the #857 patent

   are therefore not invalid for a lack of written description under§ 112.

   VII. CONCLUSION

         For the foregoing reasons, I find that all the asserted claims of the asserted

  patents before me are not invalid and that Alvo gen infringes each of the asserted

   claims.


                                             90
Case 1:19-cv-00434-CFC-CJB Document 352 Filed 08/19/21 Page 97 of 97 PageID #: 36110




        The parties will be directed to submit a proposed order by which the Court

  may enter final judgment consistent with this Opinion.




                                          91
